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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

WALTER D. BALLA, et al.

              Plaintiffs,                           Case No. 1:81-CV-1165-BLW

       v.                                           FINDINGS OF FACT AND
                                                    CONCLUSIONS OF LAW
IDAHO STATE BOARD OF
CORRECTION, et al.

              Defendants.


                                     INTRODUCTION

       The Court has before it defendants’ motion to terminate prospective relief. The

Court held an eleven-day trial on the motion that was completed on February 21, 2020.

The parties then filed additional briefing that was completed on April 6, 2020. The

motion is now at issue. For the reasons explained below, the Court will grant the motion

and order that the case be dismissed.

                                        SUMMARY

       This class action lawsuit was filed in 1981 by inmates at the Idaho State

Correctional Institution (ISCI) alleging that their conditions of confinement violated the

Eighth Amendment. Following a trial in 1984, Judge Harold R. Ryan required ISCI to

make changes in the areas of food preparation; medical facilities; places for eating;

safety; clothing; nutrition; medical, dental and mental health care; certain rehabilitative

programming; and staffing. In the following years, there was lengthy litigation over

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ISCI’s compliance with the Court’s orders and an increased focus on medical care and

overcrowding.

       Eventually the parties agreed to a set of Modified Compliance Plans (MCP), as to

medical and mental health treatment, that established standards for various jail conditions

along with regular monitoring to evaluate whether ISCI was complying with those

standards. Their agreement contemplated a two-year monitoring period, after which ISCI

would apply for certification from the National Commission on Correctional Health Care

(“NCCHC”), a nationally recognized organization with the mission of improving the

quality of health care in prisons. Following certification that the medical and mental

health treatment at ISCI complied with the NCCHC standards for institutional health

care, the parties would voluntarily terminate the existing Court orders.

       ISCI received full accreditation by the NCCHC in 2017 and again in 2019. The

monitoring of the MCP has shown that ISCI is complying with the standards agreed upon

by the parties.

       Despite this apparent compliance with the MCPs and the parties’ agreement, the

inmates claim that ISCI was continuing to violate the Eighth Amendment by, among

other things, providing inadequate medical care. In February 2020, this Court held a two-

week trial to determine whether there are any current and ongoing violations of the

Eighth Amendment.

       The Eighth Amendment guarantees inmates the right to adequate medical

treatment in prison. Prison officials violate that Amendment when they fail to provide



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adequate medical care and do so with deliberate indifference – that is, they know their

failure causes an excessive risk to inmate health and safety and they disregard that risk.

       In the decision below, the Court finds that the ISCI is not violating the Eighth

Amendment. The NCCHC accreditation and the MCP compliance, while not

determinative, constitute substantial evidence of adequate medical care. ISCI has put in

place policies, training programs, and monitoring systems that will foster good care. The

physicians, nurses, and other staff professionals are highly qualified and dedicated to

providing quality medical care to the inmates. When errors or shortcomings occur, they

are identified and addressed with corrections and training. Although there have been

failures in the provision of medical care, they are isolated instances and not evidence of a

systemic failure. For these reasons, the Court will grant the defendants’ motion to

terminate relief.

       The Court would note, however, that there are three areas where ISCI is compliant

with its Eighth Amendment obligations, but barely so. The first area is suicide

prevention, the most important component of any mental health program. In the past,

ISCI has been plagued by falsified records and general incompetence. Only recently has

ISCI corrected these problems and improved its suicide prevention program to meet

Eighth Amendment standards. But given this history, ISCI must be vigilant in training

and in monitoring for the falsification of records. This is a weak link in ISCI’s provision

of medical care and could easily be the basis for a new lawsuit if ISCI ignores problems.

       A second area where ISCI is marginally compliant is emergency response staffing

during the evening hours for the Medical Annex. For five nights a week the only

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emergency responder is a single Certified Medical Specialist (CMS) – trained as an EMT

– who covers all of ISCI and its 1,400 inmates. The 78 inmates in the Medical Annex

often have chronic medical conditions that put them at higher risk for emergencies than

inmates in the general population. While there are nurses on the night shift in the

Infirmary and Long Term Care, those units are locked down at night and the nurses are

not available to assist Medical Annex inmates during evening hours. Correctional

Officers have some basic training and can assist the CMS, and this staffing level has not

caused any injuries or harm to this point. But once again ISCI is doing the bare minimum

under the Eighth Amendment and would be wise to increase its staffing to avoid future

litigation.

       The third area concerns the Medical Annex itself. It houses inmates who have

chronic health conditions or disabilities that warrant exclusion from the general

population but who can do the activities of daily living and do not need the greater care

provided in the Infirmary or the Long Term Care unit. The concept behind the Medical

Annex – operating as an independent living center to allow inmates to care for

themselves – is beneficial but it requires constant monitoring because these inmates can

experience a quick deterioration in their health. The current monitoring is provided by a

board-certified physician who examines inmates on an outpatient basis in the Chronic

Care Clinic and by a nurse who staffs pill call and sick call and can check on inmates

who do not attend when they should. Correctional Officers who staff the Medical Annex

are also trained to recognize certain serious health problems. This is adequate to meet



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Eighth Amendment standards, but barely. It would be wise for ISCI to increase its

staffing in the Medical Annex to avoid future litigation.

       In the final result, ISCI is the prevailing party. After decades of litigation they

have taken substantial steps to improve conditions at ISCI. But in the three areas

identified above, there are potential weaknesses that could easily backslide into an Eighth

Amendment violation. That is why the Court has offered this serious warning.

                             LITIGATION BACKGROUND

       The long history of this case has been detailed in several past decisions by this

Court and will not be repeated here but merely summarized to provide a context for the

Court’s decision.

Balla I

       In 1984, Judge Harold R. Ryan found that inmates at ISCI were subjected to

unconstitutionally inadequate medical treatment and that certain other conditions of

confinement resulted in constitutional violations. Balla v. Idaho State Bd. of Corr., 595

F. Supp. 1558, 1583 (D. Idaho 1984) (Balla I) (also available at Dkt. 585). Though ISCI

also appeared to be overcrowded, the Court declined to address the issue at that time

because “a real effort [wa]s being made to alleviate the overcrowding.” Id. at 1573. The

Court recognized, however, that “overcrowding may well reach a level at which the

shelter of the inmates is unfit for human habitation.” Id. at 1574.

       The Court entered nine injunctive relief orders, referred to as the Balla I Orders.

Balla I Orders 1, 2, 7, 8, and 9 – which related to medical diets, inmate clothing, a

reporting obligation, sexual assault precautions, and disciplinary offense procedures –

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have been voluntarily terminated by stipulation. See Dkt. 1282. As a result, the only Balla

I Orders that remain in effect today are the following:

 Balla I, Order 3                  • Create a 24-hour emergency medical care system
                                   • Develop a system which allows unimpeded access to
                                     medical care
                                   • Hire a full-time physician
 Balla I, Order 4                  Create a properly staffed and organized medical delivery
                                   system to allow for effective utilization of the infirmary
 Balla I, Order 5                  Create a psychiatric care program
 Balla I, Order 6                  Double the security staffing in any double-celled, medium-
                                   custody tiers

Balla I, F. Supp. at 1583. Decades later, the parties attempted to settle Orders 3, 4, and 5

of Balla I. Those efforts will be discussed in more detail below.

        The original Balla I compliance plans were adopted by the Court on July 11, 1985.

See Dkt. 150. The Ninth Circuit affirmed this Court’s measure of Defendants’

compliance with the Balla I Orders against the 1985 compliance plans, rather than against

the insufficiently specific Balla I opinion. Balla v. Idaho State Bd. of Corr., 869 F.2d

461, 465 (9th Cir. 1989). On May 28, 2009, this Court determined that the Balla I

compliance plans remained enforceable via contempt proceedings. See Dkt. 768.

        Unfortunately, some of the original Balla I compliance plans have been lost to the

vicissitudes of time. 1 However, for purposes of this decision the Court agrees with the



        1
          As relevant here, the Court has located the Balla I compliance plans for Order 6 and part of the
Balla I compliance plans for Order 5. The record does not contain any part of the Balla I compliance
plans for Orders 3 and 4. Notes in the paper record indicate that these plans were contained in a separate
expando folder that the Court no longer possesses.



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parties that the closest full set of the Balla I compliance plans is that compiled and

submitted by Plaintiff on April 14, 2009, at Docket No. 764-2. 2

        Balla I was issued, and the compliance plans adopted, long before the passage of

the Prison Litigation Reform Act of of 1996 (“PLRA”). Thus, the Court, in issuing the

Balla I Orders and the later-adopted compliance plans, did not find that they were

narrowly drawn, extended no further than necessary to correct the constitutional

violation, or were the least intrusive means to correct the constitutional violation, as

required by the PLRA. 3

Balla II

        As noted above, Balla I did not find a constitutional violation arising from

overcrowding. The Court went on to address that issue in Balla v. Idaho State Board of

Corrections, 656 F. Supp. 1108 (D. Idaho 1987) (Balla II). Finding that overcrowding

had resulted in Eighth Amendment violations at ISCI, the Court imposed population caps,

as well as certain restrictions on double-celling, in Units 1, 2, 3, 7, 8, 9, 10, 11, and 13 of

the prison. Id. at 1119–20. The Court also ordered that no more than two inmates could



        2
           The Court rejects Plaintiff’s contention that Defendants’ Motion must be denied solely on the
basis that neither the parties nor the Court has a complete set of Balla I compliance plans. See Dkt. 1286
at 35. One of the questions the Court must answer is whether, under 18 U.S.C. § 3626(b), present
conditions at ISCI have improved, over the last thirty-five years, to the point that there is no longer a
current and ongoing systemic Eighth Amendment violation based on medical treatment and
overcrowding. The Court does not need the Balla I compliance plans to make that determination.

        3
           The Court rejects Plaintiffs’ contention that the required need-narrowness-intrusiveness findings
were implicit in Balla I. See Dkt. 1286 at 35. Section 3626 was specifically intended to restrict the
availability and scope of prospective relief ordered in prison conditions cases.




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be housed in any cell, that no inmates could be housed in day rooms or other non-

designed cell areas, and that no inmates could be forced to sleep on mattresses on the

floor. Id. at 1120. Finally, the Court ordered that all plumbing problems in the prison

must be attended to within 24 hours and fixed within three days. Id. These ten injunctive

relief orders have been referred to as the Balla II Orders.

       The IDOC later constructed the Idaho Maximum Security Institution, which

received many inmates as transfers from ISCI. As a result, the Court modified Balla II,

Order 6, which addressed Unit 9 of ISCI. The Court raised the population cap in that unit

and ordered that, if IDOC double-celled medium custody inmates in Unit 9, it would be

required to increase security staff and access to other areas. Dkt. 317 at 4–5 (Aug. 23,

1990). The Court later modified the Unit 9 injunction yet again, to correct an error in the

population cap and to impose a staffing pattern for medium-custody tiers in that unit. Dkt.

325 at 2–3 (March 5, 1991). That staffing pattern required Defendants to “utilize[e] the

services of two officers during the day shift, two officers during the swing shift, and one

officer during the graveyard shift.” Id. at 3.

       Because the PLRA had not yet been enacted, the Court in Balla II did not make

any findings as to the necessity, narrowness, or intrusiveness of the Balla II Orders.

Balla III

       In 2003, Defendants filed a motion to terminate the Balla II Orders pursuant to the

provisions of the intervening PLRA. Judge Fitzgerald found that the overcrowded

conditions at ISCI had not improved in certain units and, therefore, preserved some of the

Balla II Orders. Balla v. Idaho State Bd. of Corr., 2005 WL 2403817, *12 (D. Idaho Sept.

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26, 2005) (Balla III), clarified on denial of reconsideration by Dkt. 600 (Dec. 9, 2005).

Specifically, the Court incorporated its findings and conclusions with respect to

overcrowding in Units 9, 10, 11, and 13 and reissued the Balla II injunctions governing

those units, with a modification to the Unit 9 order. The Court refers to these orders as

the Balla III Orders. The Court also found that these Balla III Orders met the need-

narrowness-intrusive standard of § 3626(a)(1)(A).

        The Court in Balla III expressly declined to incorporate its previous findings and

conclusions with respect to Balla II, Orders 1 through 5, which pertained to Units 1, 2, 3,

7, and 8, as well as to close custody inmates. Id. at *9 n.1. The Court found that those

orders were “no longer at issue in this action” and that only the Orders pertaining to Units

9, 10, 11, and 13 “of the permanent injunction in Balla II remain in effect.” 4 Id. at *12.

Because those Balla II Orders were incorporated into Balla III, the only Balla II or Balla

III Orders that remain in effect today are the following:

 Balla III, Order 1                Unit 9:
 (corresponding, with              • 117-inmate population cap
 modification, to Balla II,        • Double-celling allowed in only half of the 78 cells
 Order 6)                          • If double-celled, must have the greater of (1) twice the
                                     security staff, or (2) security staff comparable to other
                                     medium-custody units
                                   • Staffing pattern of two officers during day shift, two
                                     officers during swing shift, and one officer during
                                     graveyard shift


        4
          The Court finds that the omission of the other Balla II Orders—those pertaining to Units 1, 2, 3,
7, and 8 and close custody inmates—from the list of orders that would “remain in effect” constituted a
termination of those other Balla II Orders.




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 Balla III, Orders 2 and 3         Units 10 and 11: 108-inmate population cap, no double-
 (corresponding to Balla           celling
 II, Order 7)
 Balla III, Order 4                Unit 13 (formerly known as A-Block): 144-inmate
 (corresponding to Balla           population cap
 II, Order 8
 Balla III Housing Order    • No more than two inmates in any cell
 (corresponding to Balla II • No inmates housed in dayrooms or other non-designed
 Housing Order)               cell areas
                            • No inmates sleeping on mattresses on the floor
 Balla III Plumbing Order Plumbing problems must be attended to within 24 hours
 (corresponding to Balla II and fixed within 3 days
 Plumbing Order)

Id.; Dkt. 325 at 3 (March 5, 1991); Dkt 600 at 5–6 (Dec. 9, 2005).

Modification of Balla I, Orders 3, 4, and 5: Modified Compliance Plans and

Stipulated Motion 5

        Following the Court’s appointment of a special master and the submission of the

special master’s report, the parties began settlement negotiations with respect to Balla I

Orders 3, 4, and 5, which are the Orders relating to medical and mental health treatment

(“Balla I Medical Orders”). 6 The parties eventually agreed to a set of plans, the MCP,




        5
          Because the MCP discussed in this section have expired, Defendants’ compliance with those
plans does not necessarily directly answer the questions posed in this proceeding: (1) whether there is a
current and ongoing constitutional violation, and (2) if so, whether the prospective relief previously
ordered in this case meets the need-narrowness-intrusiveness standard of § 3626. However, the Court
agrees with Defendants’ position at the evidentiary hearing that compliance with these plans remains
relevant to these questions, as it is some evidence that Defendants have cured the constitutional violations
previously found by the Court with respect to the Balla I Medical Orders.



        6
         The parties also negotiated Balla I, Order 1 in the MCP, which pertained to medical diets and
which has since been terminated.


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which were most recently admitted as Defendants’ Exhibits 1 and 2 at the February 2020

evidentiary hearing and which have frequently been referred to Addenda A and B.

       The MCP provided for specific monitoring procedures that IDOC would use to

ensure compliance with the MCP. These monitoring procedures were referred to as

“Balla audit tools” at the February 2020 evidentiary hearing.

       The MCP contemplated a two-year monitoring period, after which IDOC would

apply for certification from the National Commission on Correctional Health Care

(“NCCHC”), a nationally recognized organization with the mission of improving the

quality of health care in prisons, jails, and juvenile confinement facilities. Following

certification that the medical and mental health treatment at ISCI complied with the

NCCHC standards for institutional health care, the parties would voluntary terminate the

Balla I Medical Orders. Dkt. 842 at § 6.7.

       The parties filed a stipulated motion to modify the Balla I Medical Orders,

incorporating the MCP. See Dkt. 842. On June 11, 2012, the Court approved the

Stipulated Motion to modify the Balla I Medical Orders and adopted the MCP. At that

time, the Court stated that the terms of the stipulated motion “extend no further than

necessary to satisfy the requirements of 18 U.S.C. § 3626(a)(1).” Dkt. 849.

       In retrospect, the Court should not have approved the MCP without making

additional findings pursuant to 18 U.S.C. § 3626. See Dkt. 1262 at 7 (“[T]he Court should

not have adopted the parties’ plan simply because it was wrought by compromise and

settlement.”). Specifically, in approving the modification of the Balla I Medical Orders,

the Court did not consider whether there was a current and ongoing constitutional

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violation at ISCI—a statutory requirement for prospective relief that cannot be waived by

the parties or excused by the Court. 7 Cf. Hernandez v. Holland, 750 F.3d 843, 856 (9th

Cir. 2014) (holding that the standard of review under the Anti-Terrorism and Effective

Death Penalty Act “cannot be waived” because it “‘is not a procedural defense, but

a standard of general applicability for all petitions … adjudicated on the merits by a state

court’”) (quoting Eze v. Senkowski, 321 F.3d 110, 121 (2d Cir. 2003)).

        Notwithstanding that the Court should have first determined whether a current and

ongoing violation existed, the MCP is what defined compliance with the Balla I Medical

Orders during the MCP’s term of applicability. That is, with respect to the Balla I

Medical Orders, compliance with the MCP would remedy any such current and ongoing

violation.

        The monitoring period was initially set to end in June 2016. However, in 2015,

Judge Carter extended the monitoring period set forth in the MCP—for an additional two

years—as a sanction for the misconduct of certain IDOC employees that occurred in

2011 and 2012. See Dkt. 983. Judge Carter also amended the portion of the Stipulated

Motion that provided for termination of the Balla I Medical Orders, by (1) requiring

Defendants to file a motion to terminate after the conclusion of the monitoring period,

(2) placing the burden on Defendants “to prove that there are no ongoing constitutional



        7
          The statutory requirements of § 3626(a) apply to the Court’s order approving the Stipulated
Motion and adopting the MCP. See 18 U.S.C. § 3626(c)(1) (“[T]he court shall not enter or approve a
consent decree unless it complies with the limitations on relief set forth in subsection (a)”), and § 3626(g)
(“[T]he term ‘consent decree’ means any relief entered by the court that is based in whole or in part upon
the consent or acquiescence of the parties but does not include private settlements[.]”).


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violations, that the relief ordered exceeds what is necessary to correct an ongoing

constitutional violation, or both,” and (3) providing that termination of the Balla I

Medical Orders would occur “only with the Court’s approval.” Id. at 18 (internal

quotation marks omitted).

       For years, both before and after Judge Carter’s extension of the monitoring period,

Plaintiffs—through the class representatives and counsel—monitored Defendants’ use of

what everyone believed at the time to be the Balla audit tools required by the MCP. This

included attending monthly monitoring meetings with IDOC officials.

       Alas, all was not as it seemed. In October 2015, Defendants disclosed that they

had been using audit tools identified in the wrong version of the MCP and, therefore,

were not in compliance with the MCP actually in effect. Dkt. 1202 at 16–18; Dkt 1205 at

9. 8 Despite the fact that Plaintiffs themselves were monitoring the Defendants’

monitoring, Plaintiffs did not raise an issue of noncompliance until after Defendants’

disclosure.

       The Court need not recount the contempt proceedings that arose from that

noncompliance, which are detailed in previous orders, other than to recount Judge

Carter’s factual finding that, as of July 2016, Defendants had brought themselves into

compliance with the MCP. Dkt. 1202 at 3, 29. As explained more fully below in the




       8
          Defendants’ noncompliance with the MCP was discovered by then-Deputy Chief of Prisons
Ashley Dowell, who, “[u]nlike the IDOC officials previously in charge of Balla, … took swift and
effective action to identify and rectify the areas of noncompliance.” Dkt. 1202 at 16.


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Court’s Findings of Fact, Defendants have established that, from July 2016 to the present,

they have remained in compliance with the MCP.

       The monitoring period in the MCP expired on September 1, 2017. On March 1,

2019, Defendants filed the instant Motion to Terminate Prospective Relief.

                                  LEGAL STANDARDS

Termination of Injunctive Relief

       The Prison Litigation Reform Act of of 1996 (“PLRA”) was enacted “to stop

federal courts from micromanaging our Nation’s prisons” and “from providing more than

the constitutional minimum necessary to remedy the proven violation of federal rights.”

Shima Baradaran-Robison, Kaleidoscopic Consent Decrees: School Desegregation and

Prison Reform Consent Decrees After the Prison Litigation Reform Act and Freeman-

Dowell, 2003 B.Y.U. L. Rev. 1333, 1351 (2003) (internal quotation marks omitted). The

PLRA imposes numerous restrictions on actions challenging the constitutionality of

prison conditions.

       These include restrictions on prospective injunctive relief, which are codified at 18

U.S.C. § 3626. The PLRA restricts “courts’ authority to issue and enforce prospective

relief concerning prison conditions” and requires “that such relief be supported by

findings and precisely tailored to what is needed to remedy the violation of a federal

right.” Miller v. French, 530 U.S. 327, 347 (2000).

       Under the PLRA, a federal court may not grant or approve prospective relief

“unless the court finds that such relief is narrowly drawn, extends no further than

necessary to correct the violation of the Federal right, and is the least intrusive means

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necessary to correct the violation of the Federal right.” 18 U.S.C. § 3626(a)(1)(A). The

Court will refer to these required findings as “need-narrowness-intrusiveness” findings.

See Armstrong v. Schwarzenegger, 622 F.3d 1058, 1070 (9th Cir. 2010). In considering

prospective relief, a court must also “give substantial weight to any adverse impact on

public safety or the operation of a criminal justice system caused by the relief.” 18 U.S.C.

§ 3626(a)(1)(A).

       Section 3626 limits not only the circumstances in which prospective relief may be

granted, but it also governs the termination of such relief. Prospective relief is terminable

upon motion of a party, at the latest, two years after the relief was granted. If the relief

was granted before the enactment of the PLRA, it is terminable no later than two years

after the date of enactment. 18 U.S.C. § 3626(b)(1)(A).

       Further, prospective relief is subject to immediate termination if the court granted

the relief without making the required need-narrowness-intrusiveness findings. Id.

§ 3626(b)(2) (“[A] defendant … shall be entitled to the immediate termination of any

prospective relief if the relief was approved or granted in the absence of a finding by the

court that the relief is narrowly drawn, extends no further than necessary to correct the

violation of the Federal right, and is the least intrusive means necessary to correct the

violation of the Federal right.”). This plain language appears to require immediate

termination of any relief that was not accompanied by need-narrowness-intrusiveness

findings at the time the relief was granted.

       However, the Ninth Circuit has interpreted § 3626(b)(2) as requiring a district

court to examine present conditions of confinement to determine if the need-narrowness-

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intrusiveness standard is currently satisfied, rather than requiring the district court to

immediately terminate any relief that was granted in the absence of need-narrowness-

intrusiveness findings. Gilmore v. People of the State of California, 220 F.3d 987, 1008

(9th Cir. 2000) (“We conclude that the court erred in its … exclusive focus on express

findings rather than on whether, in fact, the remedy exceeded the constitutional minimum

according to the record and the relevant caselaw.”). Essentially, it seems that the court in

Gilmore equated § 3626(b)(2)’s language that a defendant is “entitled to immediate

termination” of relief with § 3626(b)(1)’s language that relief is “terminable.”

       In addition to Gilmore’s limitation on immediate termination, the statutory

language itself also limits termination of prospective relief, with the savings provision of

§ 3626(b)(3). Even if relief is terminable under § 3626(b)(1) or (2), a court may not

terminate the prospective relief if the relief “remains necessary to correct a current and

ongoing violation of the Federal right, extends no further than necessary to correct the

violation of the Federal right, and … is narrowly drawn and the least intrusive means to

correct the violation.” 18 U.S.C. § 3626(b)(3).

       If a court finds no current and ongoing violation of “the Federal right,” the inquiry

ends. The court must terminate all prospective relief.

       If a court does find a current and ongoing violation of “the Federal right,” it must

undertake an additional analysis. Even if such a violation exists, prison officials are

entitled to modification of the prospective relief—rather than maintenance of the

prospective relief in its present form—if the court finds that the existing relief does not

meet the need-narrowness-intrusiveness standard. See Gilmore, 220 F.3d at 1008 (“If the

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existing relief qualifies for termination … but there is a current and ongoing violation, the

district court will have to modify the relief to meet the [PLRA’s] standards.”); Pierce v.

Orange County, 526 F.3d 1190, 1204 n.13 (9th Cir. 2008) (describing the district court’s

“authority under § 3626 to modify (and thereby expand or diminish)” the existing

prospective relief). This is true even if the relief did, at one point, meet that standard,

because the analysis under the PLRA’s termination provisions must focus on “the current

circumstances at the prison,” rather than the conditions that existed at the time the relief

was granted. Gilmore, 220 F.3d at 1009 (emphasis added). Determining whether

prospective relief meets § 3626(b)(3)’s need-narrowness-intrusiveness standard “will

obviously rest upon case-specific factors—namely, the extent of the current and ongoing

constitutional violations.” Pierce, 526 F.3d at 1206.

       In the Ninth Circuit, the party moving for termination has the burden “to prove its

compliance” with the federal right at issue in the case. Gilmore, 220 F.3d at 1008; Graves

v. Arpaio, 623 F.3d 1043, 1048 (9th Cir. 2010) (per curiam) (“When a party moves to

terminate prospective relief under § 3626(b), the burden is on the movant to demonstrate

that there are no ongoing constitutional violations, that the relief ordered exceeds what is

necessary to correct an ongoing constitutional violation, or both.”). This Court has

previously expressed its belief that the plain language of the statute “requires a different

approach”:

         As the moving party, Defendants should have the initial burden to show
         that they are entitled to termination under § 3626(b)(1) or (2). See
         § 3626(b)(1)(A) and (A)(iii) (prospective relief granted before the
         PLRA was enacted is “terminable upon the motion of any party” two
         years after enactment). The burden should then shift to Plaintiffs to

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         show that the “limitation” on entitlement to termination in § 3626(b)(3)
         applies—that the “prospective relief remains necessary to correct a
         current and ongoing violation of the Federal right, extends no further
         than necessary to correct the violation of the Federal right, and … is
         narrowly drawn and the least intrusive means to correct the violation.”
         See, e.g., Guajardo v. Texas Dep’t of Criminal Justice, 363 F.3d 392,
         395 (5th Cir. 2004) (“TDCJ, in seeking termination, must initially
         establish the requisite passage of time. As held by most courts, the
         burden of proof then shifts to the prisoners to demonstrate ongoing
         violations and that the relief is narrowly drawn.”) (internal citation and
         parenthetical omitted).

Dkt. 1357 at 7 n.1. Nonetheless, the Court is bound by the Ninth Circuit’s statement in

Gilmore.

       Thus, Defendants hold the burden of proof not merely to show that two years

have passed since the relief was granted, or that the relief was granted in the absence of

the required need-narrowness-intrusiveness findings. Defendants must also show that

they are not presently committing a current and ongoing constitutional violation of the

federal right at issue or that, if they are, the prospective relief exceeds the constitutional

minimum. However, not just any constitutional violation can justify the maintenance or

modification of the remaining Balla Orders. The scope of permissible injunctive relief

“is dictated by the extent of the violation established.” Coleman v. Schwarzenegger, 922

F. Supp. 2d 882, 963 (E.D. Cal. and N.D. Cal. 2009). A systemwide injunction “is

appropriate only if plaintiffs have established systemwide injury and impact.” Id. As this

case exemplifies, class actions may result in such a remedy. See also Parsons v. Ryan,

754 F.3d 657, 680 (9th Cir. 2014) (“Claims … involving detailed factual and legal

allegations of specified systemic deficiencies in prison conditions giving rise to a



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substantial risk of serious harm, have long been brought in the form

of class actions lawsuits.”).

       A court should grant or maintain systemwide relief only where the violations “are

attributable to policies or practices pervading the whole system,” or where “the unlawful

policies or practices affect such a broad range of plaintiffs that an overhaul of the system

is the only feasible manner in which to address the class’s injury.” Armstrong v. Davis,

275 F.3d 849, 870 (9th Cir. 2001), abrogated on other grounds by Johnson v.

California, 543 U.S. 499, 507 (2005). By contrast, “isolated violations affecting a

narrow range of plaintiffs” cannot justify systemwide relief. Id.; see also Lewis v. Casey,

518 U.S. 343, 359 (1996) (holding that two instances of access-to-courts violations

“were a patently inadequate basis for a conclusion of systemwide violation and

imposition of systemwide relief”). Such claims are better addressed in an individual

lawsuit by an individual plaintiff.

       This 39-year-old case, filed on May 15, 1981, “has always been about systemic

failures amounting to constitutional violations. Proof of some individual failures does

not establish systemic constitutional failures.” Graves v. Penzone, No. CV-77-00479-

PHX-NVW, 2019 WL 4535543, at *3 (D. Ariz. Sept. 19, 2019). Therefore, the mere

existence of instances of, for example, constitutionally deficient medical treatment at

ISCI would not establish a systemic Eighth Amendment violation precluding

termination of prospective relief under § 3626(b). On the other hand, if enough of those

instances have occurred such that a causal link is established between the class



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members’ injuries and a systemwide policy or practice, then a systemwide remedy may

remain appropriate.

Definition of “the Federal Right” Referenced in § 3626(b)(3)

       The savings provision requires that the Court maintain or modify the Balla Orders

if it finds a current and ongoing violation of “the Federal right” at issue in these

proceedings, which—as the Court has previously explained—is the constitutional right

that was previously litigated and found to have been violated. See Dkt. 1357. “The use of

the definite article [in § 3626(b)(3)] must mean that violations of federal rights other than

those previously litigated—and found to have been violated—may not be dealt with in

termination proceedings in the existing case. Instead, any such new violations must be

brought, if at all, in a new lawsuit.” Id. at 2. Because the nature and scope of “the Federal

right” is informed by, but not defined by, the scope of the prospective relief, a court

considering a § 3626(b) motion to terminate must focus on “the federal right which the

prospective relief was intended to protect.” Id. at 3.

       As a result, the only types of constitutional violations that are relevant at this stage

of the proceedings are those that were fully adjudicated in the 1980s, 1990s, and 2000s.

The rights that the Balla Orders were intended to protect are (1) the right of ISCI inmates

to adequate medical and mental treatment, with respect to the types of violations that

were previously established or that can otherwise be linked to a specific Balla Order, and

(2) the right to conditions of confinement that do not constitute cruel and unusual

punishment as a result of overcrowding, in those areas of the prison that were previously

litigated or that can otherwise be linked to a specific Balla Order.

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Eighth Amendment Standard

       Prison officials violate the Eighth Amendment when they are deliberately

indifferent to inadequate medical care being provided to inmates. Inadequate medical

care is a failure to treat a serious medical need – that is, a failure to treat an inmate’s

condition that could result in further significant injury or the unnecessary and wanton

infliction of pain. Edmo v. Corizon Inc., 935 F.3d 757, 785 (9th Cir. 2019). The failure

must be the result of deliberate indifference on the part of prison officials. Id. An

inadvertent or negligent failure to provide adequate medical care – and even medical

malpractice – is insufficient to establish deliberate indifference. Id. To constitute

deliberate indifference, the course of treatment the official chose must have been

medically unacceptable under the circumstances and chosen by that official in conscious

disregard of an excessive risk to the plaintiff’s health. Id. Under this standard, the prison

official must not only “be aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists, but that person must also draw the inference.”

Toguchi v. Chung, 391 F.3d 1051, 1057 (9th Cir. 2004). Typically, a difference of

opinion between a physician and the prisoner – or between medical professionals –

concerning what medical care is appropriate does not amount to deliberate indifference.

See Edmo, 935 F.3d at 786. But that is true “only if the dueling opinions are [both]

medically acceptable under the circumstances.” Id.

       Overcrowding rises to the level of an Eighth Amendment violation only when it is

combined with other factors, such as violence or inadequate staffing. Balla v. Idaho State

Bd. of Corr., 869 F.2d 461, 471 (9th Cir. 1989). A small cell, or housing two inmates in

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a single cell, raises constitutional concerns only if it results in “genuine privations and

hardship over an extended period of time.” Bell v. Wolfish, 441 U.S. 520, 542 (1979)

(pretrial detainees, due process context).

       The opinions of experts and national organizations—such as the NCCHC—can

also be relevant as to whether conditions of confinement violate the Eighth Amendment.

Balla I, 595 F. Supp. at 1563. However, “these opinions will not ordinarily establish

constitutional minima.” Id.; see also Bell, 441 U.S. at 543 n.27 (“[W]hile the

recommendations of [such] various groups may be instructive in certain cases, they

simply do not establish the constitutional minima; rather, they establish goals

recommended by the organization in question.”).

       For example, the NCCHC standards are designed to ensure that systems, policies,

and procedures of correctional institutions are “in keeping with nationally recognized

best practices” in correctional medical care. Graves v. Arpaio, 48 F. Supp. 3d 1318, 1338

(D. Ariz. 2014), amended, No. CV-77-00479-PHX-NVW, 2014 WL 6983316 (D. Ariz.

Dec. 10, 2014), and judgment terminated sub nom., Graves v. Penzone, 2019 WL

4535543. But best practices are not necessarily the constitutional floor. Systems, policies

and procedures that fall short of best practices may still comply with the Eighth

Amendment; conversely, compliance with best practices would seem to be important, but

not conclusive, evidence of compliance with the Eighth Amendment. Thus, although the

Court will consider the NCCHC’s opinions as to the medical treatment provided at ISCI,

as it will consider all the evidence in this matter, those opinions do not compel the

Court’s decision.

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NCCHC Compliance

       The NCCHC was established in the early 1970s by the American Medical

Association to improve the quality of health care in jails, prisons and juvenile

confinement facilities. NCCHC establishes standards for health services in correctional

facilities and operates a voluntary accreditation program for institutions that meet those

standards.

       As part of the accreditation process, NCCHC staff visit a prison, review inmates’

medical records, and interview prison staff and inmates concerning the provision of

medical services. In this case, the NCCHC staff reviewed 71 health records of inmates

and interviewed ISCI’s deputy warden, responsible physician, health services

administrator, other health, mental health, dental, and pharmacy staff, sergeant, three

Correctional Officers, and 16 inmates selected at random. See Exh. 189.

       The NCCHC investigators were looking for compliance with 39 “essential”

standards and 21 “important” standards. See Exh. 189. For example, essential standards

include (1) no unreasonable barriers to care; (2) qualified health care professionals make

clinical decisions; (3) proper identification and treatment of chronic disease such as

diabetes, hypertension, and psychotic disorders; (4) proper infectious disease prevention

and control; (5) proper suicide prevention and intervention program; (6) training for all

qualified medical staff, correctional officers, and inmates who work with them; (7)

compliance with all state and federal laws governing dispensing pharmaceuticals; and (8)

identification and treatment of mental health needs, including individual and group

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counseling, crisis intervention, and psychotropic medication management. Id. In order to

receive full accreditation, the facility must comply with 100% of the essential standards.

Id.

       The “important” standards include (1) full and timely reviews of all inmate deaths;

(2) timely and effective grievance process for health care complaints; (3) healthy lifestyle

promotion; (4) patient safety and confidentiality; (5) proper staffing; (6) sufficient

clinical space and equipment; and (7) timely and safe inmate escort to off-site

appointments. In order to receive full accreditation, the facility must comply with 85% of

the 21 important standards. Id.

       Based on its investigation, the NCCHC concluded that 38 of the 39 essential

standards applied to ISCI and that the facility satisfied 34 of those 38 essential standards.

Id. In addition, the NCCHC found that ISCI complied with all 21 of the important

standards. Id.

       Because the facility did not comply with 100% of the essential standards, it was

given a “continued accreditation with verification,” meaning that the lack of compliance

with the 4 standards must be corrected before a full accreditation could be awarded. Id.

Later, ISCI verified that it had corrected those shortcomings and NCCHC issued a second

report dated January 14, 2020, concluding that ISCI had met 100% of all the essential and

important standards, and issued a Certificate of Accreditation to ISCI. See Ex. 305 at 2;

Ex. 313.

Modified Compliance Plans & Audit Tools



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       In May of 2012, the plaintiffs and ISCI entered into a Stipulation agreeing that

ISCI would implement the MCP to address challenges made by plaintiffs to ISCI’s

provision of medical and mental health services. See Stipulation (Dkt. No. 842). The

Court approved that Stipulation shortly thereafter. See Order (Dkt. No. 849). The

specifics of the MCP were then negotiated by the parties, finalized, and adopted by the

Court. See Order (Dkt. No. 930).

       The MCP were tied to the NCCHC standards. Under the MCP, ISCI would use

audit tools to monitor (on a monthly basis) compliance with the NCCHC standards with

the overarching goal to ensure compliance with Balla I orders 1, 3, 4 and 5. See

Plaintiffs’ Brief (Dkt. No. 1286) at p. 6.

       The NCCHC standards identified 38 “essential” standards that applied to ISCI and

must be met for accreditation, as discussed above. Correspondingly, there are 37 audit

tools used by ISCI to monitor its compliance on a monthly basis with all but one of those

NCCHC standards. See Exhibit 86.

       To take one example, audit tool 02 looks at how responsive ISCI is to Health

Service Requests (HSRs). Id. These are inmate requests for some type of medical

service. For the month of December 2019, inmates filed 91 HSRs and 90 of those

inmates were evaluated within the required time frames for an initial screening. See

Exhibit 306. Of those 91 inmates, 68 were referred to a medical provider, and 67 of those

inmates saw a medical provider within 14 days. Id. The parties had earlier agreed that a

90% compliance rate was the minimum required, and Exhibit 306 shows that ISCI easily

satisfied that rate for each of the audit tools for the month of December 2019. The Court

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will discuss later in this decision a time when ISCI’s compliance was much lower but

was later corrected.

       To take another example, audit tools 04 & 05 look at whether the medical

providers at ISCI have the necessary licensure and training. For the month of December

of 2019, 50 staff members required some type of licensure and training, and the review

showed that all 50 had the necessary licensure and training. See Exhibit 306.

       Jeremy Clark, a Clinical Supervisor, testified that it was his responsibility to

monitor the audit tools dealing with mental health. For example, audit tool 03 examines

whether inmates in the Behavioral Health Unit (BHU) have appropriate treatment plans

and whether those plans “appear to reflect appropriate clinical judgment” among other

things. See Exhibit 306. To perform his review of audit tool 03, Clark picks a random

sample of 10% of the inmates in the BHU, pulls their medical records, and examines

whether they have up to date assessments, treatment plans and psychiatric care. He also

examines whether those plans reflect appropriate clinical judgment.

       For the month of December 2019, he pulled the records of 25 inmates in the BHU.

Each of those inmates had a treatment plan that reflected appropriate clinical judgment.

He concluded that ISCI had a 100% compliance rate for audit tool 03. See Exhibit 306.

Indeed, for the years 2018 and 2019, Clark’s review showed that for each audit tool

dealing with mental health treatment, ISCI was complying with the standards at or above

the 90% rate. Id.

       Plaintiffs agreed to the audit tools and the MCP to ensure compliance with Balla I

orders 3, 4 and 5. On the basis of the evidence discussed above, the Court finds that for

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the years 2018 and 2019, ISCI satisfied the 90% threshold requirement for each audit tool

every month with few exceptions. See Tr., vol. 1, 36-37, 122-126. The one glaring

exception was those months when ISCI failed to arrange for provider visits within 14

days of an HSR being filed, an exception that was corrected as the Court will discuss

further below.

Medical Annex

       Much of the evidence at trial focused on the Medical Annex. It is a tent-like

structure housing 78 inmates. See Tr. vol. 1 at 140 (Dr. Haggard); Ex. 301 at 41-42.

Adjacent to the Medical Annex is the Medical Building, which houses the prison’s

Infirmary, Chronic Care Clinic, and Long Term Care (LTC) unit. See Tr. vol 1 at 140;

vol. 10 at 2154 (Dr. Haggard). Any discussion of the Medical Annex must include a

summary of the services available in the Medical Building because inmates are often

placed in the Medical Annex because it is close to these other services.

       The Medical Building houses the Infirmary with capacity for 13 patients. It serves

as an on-site, acute care facility, where skilled care is provided for patients with serious

illnesses and infectious diseases. See Tr. vol. 1 at 141 & 144; vol. 10 at 2161 (Dr.

Haggard). For example, the Infirmary would treat inmates (1) with infectious diseases

like the flu or tuberculosis; (2) who need intravenous long-term antibiotics or wound care

with wound vacs and (3) who are not ambulatory after surgery. See Tr. Vol. 10 at 2161-

65 (Dr. Haggard).

       The LTC unit is essentially the equivalent of a nursing home. See Tr., vol. 1,

144:17-145:5 (Dr. Haggard). It has 16 beds and houses patients with dementia and

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chronic conditions who cannot independently accomplish the acts of daily living, such as

toileting, transferring between bed and wheelchair, bathing, feeding, taking medications,

and wound care. See Tr. vol. 5 at 1069-70 (Dr. Menard); Tr. vol. 1 at 80 (Hofer).

         Dr. Haggard is in charge of admitting and discharging inmates from LTC, and she

performs working rounds there every Tuesday, meeting with the nursing staff to discuss

the status of each patient. Id. at 144-45. She examines each LTC patient, makes sure

needed medications and lab tests are ordered, and addresses any problems the nurses

bring to her attention. Id. The treatment plans for each LTC patient are maintained in the

electronic record (known as “eOMIS”). Id. at 145. A second physician, Dr. Dawson, the

RMD for Corizon, also performs rounds in LTC with Dr. Haggard on Tuesdays. Id. Dr.

Dawson’s duties are to ensure that LTC patients are receiving appropriate care. Id.

         Inmates in the Infirmary or LTC have serious disabilities and illnesses that prevent

them from doing daily activities. These intensive services are not the best fit for inmates

who can function independently despite their disability or chronic illness; yet those

inmates capable of independent functioning need more than the basic services offered to

the general population. To bridge this gap ISCI built the Medical Annex – it operates

like an independent living center serving as a link between the general population and the

Infirmary/LTC unit. The Court will explore this concept of the Medical Annex further

below.

         The Medical Annex is staffed with a full-time Registered Nurse (RN), a position

currently filled by Hannah Taff who works three days a week, from 5:00 a.m. to 5:00

p.m. See Tr. vol. 1 at 48, 65 (Hofer); Tr. vol. 9 at 1855-56 (Taff). Taff engages with

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Annex inmates during two pill calls, a diabetic insulin call, sick call and wound care. See

Tr., vol. 9, 2131. If she learns that for any of those activities an inmate is not able to

come up to the nurses’ window, she would alert a provider and management. Id. If an

inmate is found to be incapable of getting to the window on their own, they would be

moved to LTC or the Infirmary. See Tr., vol. 9, 2131:13-19 (Taff).

       During the day-time hours when an RN is not working in the Medical Annex, an

LPN is on duty there. See Tr. 67:13-20 (Hofer). In the evenings, if there is an emergency

in the Medical Annex, there is a Correctional Medical Specialist (CMS) – akin to an

EMT or Army medic – in the Medical Building next door to the Medical Annex who can

respond to emergencies. See Tr. vol. 6 at 1388, 1394 (Young). On Tuesdays and

Thursdays there were two CMSs on the night shift. The CMS can also call on

Correctional Officers who are trained in CPR and in recognizing responders are on call

and will respond in four minutes. Id.

       Inmates placed in the Medical Annex generally have higher medical needs than

the general population. See Tr. 201:13-16 (Dr. Haggard). For some of those inmates,

their medical conditions include diabetes, high blood pressure, incontinence, cancer, and

infections, among other chronic conditions. Id. at 204-205 (Dr. Haggard); Tr. vol. 1 at

49:8-25 (Hofer). Others have disabilities and amputations and must use wheelchairs,

walkers, and canes. Id. at 205 (Dr. Haggard); Tr. at 49:8-25 (Hofer).

       These inmates with chronic conditions and mobility problems are often placed in

the Medical Annex because they will be close to facilities which they need to access on a

regular basis – the cafeteria, the pharmacy dispensary, and the Chronic Care Clinic in the

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Medical Building. Testimony demonstrated that even with limited mobility they have

enough mobility to access those services. See Tr., vol. 9 at 2138 (Taff); Tr. vols. 10 at

2268 (Tillemans).

       While in the Medical Annex, those inmates with chronic conditions are treated in

the Chronic Care Clinic on an outpatient basis by a board-certified physician, Dr.

Haggard. See Tr. vol. 10 at 2153-54 (Dr. Haggard). If Dr. Haggard sees that an inmate’s

condition is deteriorating, she will move that inmate into the Infirmary or to the LTC

unit. Id. at 2159-61 (Dr. Haggard).

       Inmates are only placed in the Medical Annex if they can do all the activities of

daily living. See Tr. Vol. 10, 2157-58 (Dr. Haggard). There are exceptions, however.

Some inmates are incontinent, wear adult diapers, and at times are unable to clean

themselves after soiling themselves. See Tr. vol. 6 at 1460 (Young). But this is a rare

occurrence, and when it happens, a janitor or CMS can help with the cleaning. Id. at

1453. There are also inmates in the Medical Annex who are confined to a wheelchair and

might need help showering – they are scheduled to shower in the LTC, which has seats

and a shower hose. See Tr. vol. 10 at 2158 (Dr. Haggard). Of these inmates, Dr.

Haggard testified that “they are functionally able to take care of themselves.” Id. Dr.

Menard, the former Regional Medical Director, agreed with Dr. Haggard’s conclusion

that inmates in the Medical Annex could perform the activities of daily living. See Tr.

vol. 5 at 1160 (Dr. Menard).

       As will be discussed further below, there are instances where the capacity of an

inmate to do the activities of daily living deteriorates or is temporarily limited. When

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that happens, in most cases, the inmate is either given assistance or transferred to the

Infirmary or the LTC unit, as will be discussed further below. While there have been

instances where there were delays in transferring an inmate – or failures to assist an

inmate – those incidents are isolated in nature and not the result of a systemic failure.

Challenge to the Medical Annex – Dr. Williams & Dr. Menard

       Plaintiffs challenge this portrayal of the Medical Annex as a well-run facility by

introducing, among other evidence, the testimony of Dr. Ryan Williams and Dr. Steven

Menard. Dr. Williams is a board-certified internal medicine specialist who holds a

license to practice in Idaho and is the Medical Director for four skilled nursing facilities

located in Idaho. To render his opinion about the Medical Annex he reviewed deposition

testimony along with videos of the Annex, and visited the site on one occasion for about

an hour-and-a-half. See Tr. vol. 9 at 2050 (Dr. Williams). He concluded that 20% of the

inmates he observed there had such serious medical conditions that they belonged instead

in a skilled nursing facility. Id. at 2072; see also at 2057 (“you can tell a lot by just

observing a patient. And there are several signs that are evident that tell you what level of

– what acuity the patient may be at and what the patient's needs may be”). Because there

are 78 inmates in the Medical Annex, that means that in his opinion about 15 to 16 of

those inmates should be in the LTC unit. He testified that (1) the Medical Annex does

not function as a skilled nursing facility and fails to meet the standards set for those

facilities by the Idaho Administrative Procedures Act (IDAPA); and (2) that this failure is

causing harm to the inmates. Id. at 2054.



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       A similar challenge to the Medical Annex came from Dr. Steven Menard, a board-

certified family practice physician who was Regional Medical Director (RMD) at ISCI

from January of 2018 to January of 2019. He testified that during his tenure, there were

inmates in the Medical Annex that belonged instead in the LTC unit but could not be

moved there because of a lack of beds in LTC. See Tr. vol. 5 at 1060 (Dr. Menard); see

also Exh. 1085 (minutes of an ISCI meeting held May 10, 2018, recounting Dr. Menard’s

statements that “patients who really should be in long term care are being placed in the

Medical Annex because Long Term Care is full. Extra staffing was discussed due to the

Annex being more like a skilled nursing facility”). He was critical of the narrow aisles

between beds and the way the beds were all abutted up against each other, leaving only

one side of the bed accessible because the head, foot, and other side of the bed were

abutted up against other beds with only short half-walls separating the beds. Id. at 1064-

1065. Having the beds so close together would, in his opinion, allow infectious diseases

like the flu to spread quickly and block easy access for emergency responders to inmates

in their beds. Id. at 1077.

       Dr. Menard testified that he was constantly asking for additional staff but his

demands were always rejected. Id. at 1090. This was especially true during a time when

the Health Service Requests (HSRs) filed by inmates increased so quickly that it

overwhelmed the staff. The Court will discuss this incident in more detail below. To

provide for inmates in the Medical Annex, Dr. Menard often had to pull an LPN out of

LTC. Id. at 1068. In meetings with staff they discussed inmates helping with toileting

for incontinent inmates in the Medical Annex. Id. at 1089.

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       When Dr. Menard was asked if the lack of staff led to any patient harm, he

recalled a case where an inmate in the Medical Annex was sitting in his chair for two

weeks until his skin rotted and turned black. Id. at 1091-95. The inmate had significant

health problems, was not compliant with the treatments set up by medical providers, and

eventually passed away. Id. He should not have been in the Medical Annex with such

serious health concerns but should have been moved to the Infirmary or LTC, according

to Dr. Menard. Id.

Analysis of Testimony of Dr. Williams and Dr. Menard.

       The testimony of Dr. Williams and Dr. Menard was troubling because of their

impressive expertise. Dr. Menard ultimately resigned because he no longer felt he could

practice ethically given the level of care he was providing. Id. at 1145. Both Dr.

Williams and Dr. Menard have high professional standards and testified convincingly that

the Medical Annex violated those standards.

       However, the testimony at trial also included contrary opinions. For example, Drs.

Williams and Menard testified that there were inmates languishing in the Medical Annex

who obviously belonged in LTC or the Infirmary and were not getting proper care for

their serious medical needs. A contrary opinion was offered by Dr. Haggard who

testified that she was not aware of any inmate currently housed in the Medical Annex

who needs to be in the LTC, or any inmate that was discharged from LTC to the Medical

Annex that still belonged in LTC. See Tr. Vol. 10 at 2163. She further testified that

although the LTC is often full, id. at vol. 1, 213, she was not aware of any inmate who

was not able to be admitted to the LTC due to a lack of capacity in the LTC. See Tr. Vol.

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10 at 2163. In response to the Court’s inquiry, she testified that she has never been

required to provide care below her own perception of the community standard of care

because of budget restraints or administrative directive. Id. at 2261.

       Hannah Taff, the RN who works in the Medical Annex, testified similarly that she

was not aware of any inmate in the Medical Annex that was blocked from transferring to

the LTC unit because it was full. See Tr., vol. 9, at 2138-39. She also testified that no

inmate in the Medical Annex was not getting access to care because of being physically

unable to access that care. Id.

       Dr. Williams testified that he would defer to the treating physician’s opinion as to

whether the inmates in the Annex should be in LTC. Id. at 2106. That treating physician

is Dr. Haggard who, as discussed above, regularly sees inmates from the Medical Annex

in the Chronic Care Clinic on an outpatient basis. Referring to Dr. Williams’ testimony

that 20% of inmates in the Medical Annex belonged in LTC, Dr. Haggard responded that

“I don't know how he came to that conclusion.” Id. at 2258.

       Dr. Menard similarly deferred to Dr. Haggard when he (as RMD) was her

supervisor – she made the decisions on admitting inmates to LTC, and Dr. Menard never

once overrode her decisions. See Tr. vol. 5 at 1165 (Dr. Menard). He deferred to Dr.

Haggard because “[s]he has more insight because she’s there five days a week, 10 hours a

day or plus.” Id. at 1166. He agreed with Dr. Haggard’s conclusion that inmates in the

Medical Annex could perform the activities of daily living. Id. at 1160. He did not

regularly review medical records of inmates in the Medical Annex and had no knowledge



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of any communicable diseases or skin infections being transmitted in the Medical Annex.

Id. at 1169-70.

       Dr. Menard is correct that aisles in the Medical Annex are narrow and at times

passage is hindered by wheelchairs, oxygen tanks, and various items. But the

Correctional Officers are trained to direct inmates to clear any obstacles and they take

that responsibility seriously. See Tr. vol. 10 at 2314 (Ellington). Correctional Officer

Ellington testified that the Unit Sergeant “consistently walks the unit and reminds them.”

Id. He also testified that emergency responders could wheel a gurney down the aisles to

get access to an inmate. Id.

       Further testimony on aisle access was given by nurse Tillemans, an RN who was

Director of Nursing and then Health Services Administrator at ISCI. She narrated a

video of the emergency response to an unresponsive inmate lying in his bed in the

Medical Annex. See Exh. Exh. 1245 (starting at 10:31:00); Tr., vol. 10, 2270-73

(Tillemans). The video shows a Correctional Officer calling an emergency for an

unresponsive inmate in his bed on an inside aisle, a location that Dr. Menard was

especially concerned about. In the incident recorded on the video, Tillemans was one of

at least five emergency responders who responded within just minutes to that bed. The

video and Tillemans’ testimony were consistent – the emergency responders had no

difficulty accessing the unresponsive inmate and providing appropriate medical aid. Id.

at 2274-82 (Tillemans); Exh 1245 (video).

       Similar testimony was given by Hannah Taff, who, as a nurse staffing the Medical

Annex on a fulltime basis, has personally responded to medical emergencies about ten

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times. See Tr., vol. 9 at 2133. (Taff). She testified that she “never had issues” gaining

access to inmates needing emergency treatment in their bunks. Id. at 2134 (Taff).

        It is difficult to reconcile the testimony of Dr. Haggard, Dr. Williams, Dr.

Menard, and nurses Hannah Taft RN and Amanda Tillemans RN. Each has impressive

credentials and each testified credibly, but at first glance, it appears they were practicing

in two different Medical Annexes; Dr. Haggard and nurses Taff and Tillemans saw

satisfactory care where Drs. Williams and Menard saw substandard care. How can that

be?

       The answer lies in the standards applied by Drs. Williams and Menard. They have

long experience practicing outside of a prison setting. While they do not advocate gold-

plated health care for the prison, they do want the prison to comply with the standards

applicable to their practice outside the prison system: Dr. Williams abides by IDAPA

standards, and Dr. Menard by his high ethical and malpractice standards. Indeed, when

Dr. Menard was asked by the Court whether medical care (or its lack) in the Medical

Annex resulted in significant injury or the unnecessary and wanton infliction of pain – the

Eighth Amendment standard – he answered, “I don't know if I can answer that.” See Tr.

vol. 5 at 1188 (Dr. Menard).

       The standards applied by Drs. Williams and Menard are not the Eighth

Amendment standards. An inadvertent or negligent failure to provide adequate medical

care is insufficient to establish a claim under the Eighth Amendment. Edmo, 935 F.3d at

786. Even medical malpractice does not violate the Eighth Amendment. Id. What is

required is deliberate indifference – the plaintiffs must show that “the course of treatment

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the [official] chose was medically unacceptable under the circumstances and that the

[official] chose this course in conscious disregard of an excessive risk to the plaintiff’s

health.” Id.

       The opinions of Drs. Williams and Menard are “highly relevant” in determining

what care is medically acceptable, but they are not determinative. Id. However, there

were other opinions – contrary opinions – offered by Dr. Haggard and nurses Tillemans

and Taff. Typically, “[a] difference of opinion between medical professionals …

concerning what medical care is appropriate does not amount to deliberate indifference.”

Id. But that is true only if the dueling opinions are medically acceptable under the

circumstances. Id.

       The Court cannot find that the opinions of Dr. Haggard and nurses Tillemans and

Taff were “medically unacceptable under the circumstances” demonstrating that they

“chose this course in conscious disregard of an excessive risk to the plaintiff’s health.”

Id. Instead, the Court finds their opinions medically acceptable. If medical personnel

have been “consistently responsive to [the inmate’s] medical needs,” and medical

personnel did not have both a “subjective knowledge and conscious disregard of a

substantial risk of serious injury,” there has been no Eighth Amendment violation.

Toguchi, 391 F.3d at 1061. That describes the work of Dr. Haggard and nurses Tillemans

and Taff, among others.

       Though there is a difference in medical opinions, the Court cannot find that the

opinions of Dr. Williams and Dr. Menard establish that ISCI is providing constitutionally



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inadequate medical care in the Medical Annex and further finds that the medical

providers and officials of ISCI are not acting with deliberate indifference.

Challenge to the Medical Annex – Testimony of Individual Inmates

Joshua McGiboney

       Inmate Joshua McGiboney suffers from a rare condition known as arteriovenous

malformation (“AVM”), which is essentially a condition where the blood vessels in his

spine are tangled and subject to hemorrhaging. See Tr., vol. 7 at 1569 (McGiboney); Tr.

vol. 10 at 2249 (Dr. Haggard). He entered the ISCI in March of 2016 with this condition

and was treated by Dr. Haggard. Id. Late in 2017 he received an MRI indicating he

needed a complicated type of neurological surgery, and it was approved by ISCI. See Tr.

vol. 7 at 1561, 1564 (McGiboney). During that surgery a team of surgeons drained fluid

from his spine, stopped the hemorrhaging, and opened up pathways for his nerves and

circulatory system to prevent further damage. Id. at 1564-65. After the surgery he was

returned to ISCI where there was a mix-up with his medication although the record does

not reveal whether the error was with the physician’s prescription or ISCI interpretation

of the prescription.

       Once back at ISCI, he was to receive physical therapy. The staff at St. Al’s

Hospital recommended that he receive three-hour-a-day therapy sessions but the sessions

he received at ISCI were limited to 20-minute sessions. Id. at 1566.

       However, within a few months ISCI sent him off-site to a physical therapy clinic

run by St. Al’s Hospital known as Liberty Stars. Id. at 1572-73. From April to

November of 2018, he was transported from ISCI to Liberty Stars once or twice a week

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for physical therapy. See Tr. vol.10 at 2206 (Dr. Haggard). That therapy was later

stopped but then started again when ordered by the Court in a separate case. Tr. vol.7 at

1576-78. That therapy continues and includes pool therapy. See Exhibit 318; Tr. vol.10

at 2205-10 (Dr. Haggard). In 2018, McGiboney suffered from additional bleeding in his

spine and pain from degenerative discs in his back. He received additional visits to

outside specialists and further treatment. Id.

       McGiboney also complains that he had to re-use catheters because there were none

in stock. See Tr. vol. 7 at 1569 (McGiboney). At most this appears to be an isolated

incident – Dr. Haggard testified credibly that inmates could “obtain as many catheters as

they need” and that she was not “aware of us running out of catheters.” See Tr. vol. 10 at

2253 (Dr. Haggard).

       These facts show that McGiboney had a rare and complicated medical condition

that required multiple surgeries and extensive treatment by medical specialists. ISCI

provided those surgeries and treatments, and while his post-operative physical therapy

may not have always been precisely in the amounts recommended, it was nevertheless

extensive, requiring ISCI to transport him off-site for therapy that included pool

treatment. There is no evidence that any problems he suffered post-operatively were

caused by insufficient time in therapy. With regard to catheter use, his experience is an

isolated one as Dr. Haggard convincingly refuted any inference of a systemic shortage of

catheters.

       If anything, McGiboney’s testimony demonstrates that ISCI provides access to

complex neurological surgery and extensive off-site physical therapy, including pool

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therapy. Nothing here even hints at an Eighth Amendment violation. Further, even if

McGiboney’s care had been substandard, there is no evidence that could support a

conclusion that such care was the result of a systemwide problem.

Keith Dickson

       Inmate Keith Dickson suffers from “moyamoya”, a disease that creates an

abnormal tangle of blood vessels in the brain. See Tr. Vol. 10 at 2188 (Dr. Haggard). He

had suffered a rupture of one of those vessels in his brain before came into the ISCI and

was monitored regularly for this condition by Dr. Haggard. Id. His symptoms included

headaches and seizures. Id.

       Dickson fell on December 24, 2018 and was having neck pain, so he was placed in

a cervical collar to protect his neck. See Tr., vol. 10 at 2191 (Dr. Haggard). The next day

he was examined in the Infirmary, and his medical notes say nothing about any sores on

his neck and do not indicate that he was complaining about sores. Id. at 2192. Eventually

he was discharged by Dr. Haggard who decided to keep the cervical collar on until x-rays

could be taken. Id. at 2196. The x-rays were taken on January 2, 2019, and the cervical

collar removed on that day. Id.

       When testifying, Dickson claimed the cervical collar was “rubbing on [his] neck

where [he] had scars from it.” See Tr., vol. 7, 1603:13-21 (Dickson). Certified Medical

Specialist (CMS) Donald Young testified during his direct examination that he observed

sores on Dickson’s neck and chin from the cervical collar but then on cross examination

testified that he did not personally observe the sores. Compare Tr. vol. 6, at p. 1412 with

p. 1450 (Young). When asked to reconcile this contradictory testimony, Young testified

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that he had helped a nurse who was taking care of Dickson’s sores and that although he

never took the cervical collar off to observe the sores, he “did get glimpses of the sores.”

Id. at 1462.

       This testimony was directly contradicted by Dr. Haggard and the medical record.

Dr. Haggard testified that it was medically appropriate for Dickson to wear the cervical

collar from December 24, 2018 until January 2, 2019, and that she had no concerns with

him developing sores from the cervical collar because such collars “can be worn for

weeks to months.” See Tr., vol. 10, 2203:8-23 (Dr. Haggard). During her testimony, Dr.

Haggard reviewed a lengthy medical record entitled “Health Services Encounter” that

documented Dickson’s encounters with medical providers – including Dr. Haggard – in

the infirmary during the period he was wearing the cervical collar. See Exhibit 326. He

fell several times and so was in the Infirmary several times for monitoring. Dr. Haggard

testified that if there were sores on Dickson’s neck, they would have been noted on the

records, but there were no observations of sores noted. See, e.g., Tr., vol. 10, 2192-95

(Dr. Haggard).

       The Court finds Dr. Haggard’s testimony credible and rejects the testimony of

CMS Young due to the inconsistencies discussed above. Dickson was treated promptly

for his neck injury, was able to see medical providers regularly thereafter, and had x-rays

taken in a timely manner. If Dickson suffered some soreness from the cervical collar it

was at most an isolated experience and does not represent a systemic failure. The Court

can find no evidence of an Eighth Amendment violation in the incident with Dickson.

Robroy Wall

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       Inmate Robroy Wall suffers from a rare auto-immune disease and suffers allergic

reactions, including a reaction to nitrile which is used in the protective gloves often used

by ISCI staff and medical providers. See Tr., vol. 7, 1608:4-1610:2. While at ISCI, Wall

suffered various allegoric reactions, several of which affected his airway and ability to

breathe. The medical providers at ISCI tried various drugs that, as Wall testified, worked

for a time but then stopped working. At the same time, he was treated for high blood

pressure with the drug Lisinopril. Wall testified that after being put on Lisinopril, his

adverse allergic reactions increased substantially. For example, there were three

incidents between April and July 2019, where his allergic reaction made it difficult for

him to breath, and he had to have an injection from an EpiPen to recover. He complained

of delays because in one instance the responder did not know how to use the EpiPen,

although a second responder was able to give him an injection. In another incident there

was a delay while the responders got permission to use the EpiPen. In each incident he

recovered without any evidence of injury.

       In August of 2019, ISCI sent him to an offsite physician – a Dr. Fritz – who

specialized in allergies and immunology. Dr. Fritz took him off Lisinopril and made

other recommendations that were reviewed by Dr. Haggard and turned into a treatment

plan that was discussed with Wall. See Tr., vol. 10, 2215:18-2218:5. The medical notes

state that Wall reports a dramatic improvement in symptoms since he quit taking the

Lisinopril and wanted to return to work. See Exh. 327; see also Tr., vol. 10, 2218:6-

2219:4. However, he continues to have emergency allergic reactions since he quit taking

Lisinopril, so that drug does not appear to be the sole cause of his reactions. Id. at 2227.

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       In summary, Wall suffered from a rare form of immune disorder and allergies that

were successfully treated by ISCI’s medical providers with various drugs that eventually

lost their effectiveness. His allergic reactions may have been exacerbated by his high

blood pressure medication, although that is not altogether clear from the record, and there

were delays in treating him with the EpiPen on at least two occasions, but those delays

did not result in any injury or long-term consequence. He eventually received off-site

treatment from a medical specialist that led to a dramatic improvement in his condition.

       Once again, this anecdotal evidence does not support plaintiffs’ claim of an Eighth

Amendment violation.

Ronald Coleman

       Inmate Ronald Coleman had a long history of serious medical problems. See Tr.

vol. 6 at 1303 (“I've had brain surgeries. I've had bones sticking out of my legs. I've had,

like, eight broken ribs before. I've had an aneurysm rupture”); 1316 (kidney transplant).

On July 25, 2019, he hurt his knee, and the next day (July 26, 2019) reported it as an

injury needing treatment. That was a Thursday – by the following Monday he was seen

by Nurse Practitioner Rogers who drained fluid from the knee and gave him a cortisone

shot. See Tr. vol. 6 at 1299-1300; 1313. His knee was fine on July 30, 2019, but by July

31, 2019, it “went completely wild and . . . started hurting just beyond belief and swelled

up really big.” Id. at 1301. Coleman claims that his repeated pleas for medical treatment

at sick call were denied. Id. at 1303. Eight days later – on August 8, 2019 – Coleman

was transported to an off-site hospital where he remained for a month, undergoing 14

surgeries to remove infections throughout this body, including in his heart and brain. Id.

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at 1317. He returned to the Infirmary where he was seen by medical providers once a

day, but they once again ignored his complaints of pain and swelling in the knee. Id. at

1306. The infection returned and he was transported back to the hospital September 25,

2019. Id. at 1308; 1318. He returned to ISCI in October but was hospitalized again in

December of 2019. He has since returned to ISCI but the knee continues to give him

problems. Id. at 1309.

       Coleman complains that his knee infection resulted from the shot given to him by

Nurse Practitioner Rogers. But other than his own speculation there is no evidence to

support that claim and, in any event, it does not establish an Eighth Amendment

violation. Broughton, 622 F.2d at 460 (holding that medical malpractice or negligence

does not support a cause of action under the Eighth Amendment).

       Coleman’s central complaint is that the eight days of delay between the day his

knee started hurting so bad after the shot (July 31, 2019), and the day he was taken to the

hospital (August 8, 2019) allowed infection to spread throughout his body eventually

threatening this life and requiring three separate long hospitalizations. Yet the Court has

no evidence that the 8-day delay led to the multiple hospitalizations other than Coleman’s

own speculation. A delay in medical treatment does not violate the Eighth Amendment

unless that delay causes further harm. McGuckin, 974 F.2d at 1060.

       During those eight days, he was seen on three separate occasions by ISCI medical

providers: (1) RN Amanda Johnson on August 1, 2019; (2) Nurse Jamie Blackburn on

August 4th; and (3) Nurse Practitioner Rogers on August 5, 2019. Id. at 1314-17. He

claims his knee had swelled to the size of a “volleyball” and that the area from his knee to

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his ankle had swelled up to the size of a “basketball.” Yet according to him, all three

nurses “refused treatment.” Id. at 1324. He admitted getting angry with these nurses

because, he claimed, they refused to treat him. Id. at 1326.

       Refusing to treat a knee and lower leg swelled up to that extent would be evidence

of deliberate indifference – indeed it would be cruel. But it is hard to find this testimony

credible. Throughout the entire trial there was no other evidence that the nursing staff

were cruel; in fact the evidence was just the opposite: The nursing staff were well-

trained and highly professional in their care. The Court simply cannot believe that three

different nurses on three separate occasions all ignored a knee swelled up like a

volleyball and a lower leg swelled up like a basketball. Even if they did, “proof of some

individual failures does not establish systemic constitutional failures.” Graves v.

Penzone, 2019 WL 4535543, at *3 (D. Ariz. Sept. 19, 2019). “[I]solated violations

affecting a narrow range of plaintiffs” cannot justify systemwide relief. Armstrong, 275

F.3d at 870; see also Lewis v. Casey, 518 U.S. 343, 359 (1996) (holding that two

instances of access-to-courts violations, “were a patently inadequate basis for a

conclusion of systemwide violation and imposition of systemwide relief”). If there was a

nursing failure here, which the Court does not find, it was an isolated case. The Court

can find no systemic failure of the nursing staff to ignore obvious signs of serious

medical needs.

James Hydle

       James Hydle was an inmate in the Medical Annex who, prior to being

incarcerated, had been shot in the head and confined to a wheelchair. Tr. vol. 6 at 1471

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(Hydle). Before arriving at ISCI he developed an infection in his foot and later

developed infections in his leg. Id. at 1473-74. To treat the infections, he was transferred

from the Medical Annex to the LTC unit two different times, residing in LTC for three

months each time. Id. at 1491. ISCI also transported him off-site to the St. Luke’s

Hospital Wound Center for treatment three different times. Id. at 1491.

       When he was not in LTC or in the Wound Center he was housed in the Medical

Annex, where (1) a nurse regularly changed his bandages, (2) he obtained five different

prescription medications during pill call, and (3) he received outpatient treatment in the

Chronic Care Clinic. Id. at 1489-90. He could call on the services of a “wheelchair

pusher” to help him get to pill call (in the Medical Annex) and the Chronic Care Clinic

(next door in the Medical Building). Id. His infections have largely healed. Id. at 1476.

Because of his disability he fell several times but was seen by a nurse after his falls. Id.

at 1491. He only submitted one HSR while at ISCI. Id. at 1494.

       At one point in his testimony Hydle inferred that the close spacing of the beds in

the Medical Annex could have facilitated the spread of infection to his legs while at the

same time could have exposed other inmates to his infection. Id. at 1476. This is sheer

speculation; there is no evidence to support that conclusion. Indeed, Dr. Menard testified

that he was not aware of any skin infections being spread in the Medical Annex. See Tr.

vol. 5 at 1169-70 (Dr. Menard).

       Hydle also complains that his access to the Medical Building was impeded by a

door in the Medical Annex that was difficult to maneuver through. But he also testified



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that he had a “wheelchair pusher” to help him, so that was not much of a barrier to

medical care.

       In fact, Hydle received extensive care while at ISCI. For his infections he

received three off-site treatments at St. Luke’s Wound Center and six months of care in

the LTC unit, and all of that care was ultimately successful. While in the Medical Annex

he received regular care from a nurse, all his prescription medications, and regular

outpatient care in the Chronic Care Clinic. The Court can find no evidence here to

support an Eighth Amendment claim.

Jack Swisher

       Inmate Swisher came into the ISCI as a paraplegic suffering from intermittent

incontinence. See Tr. vol. 6 at 1378 (Swisher). He was housed in the Medical Annex

from March of 2019 to February of 2020, and then moved into the LTC unit where he

currently resides. Id. at 1379. During those eleven months in the Medical Annex, he fell

three times while transferring from his wheelchair to his bed, and five or six times while

transferring from his wheelchair to the toilet. Id. at 1380. While the Correctional

Officers or other inmates were not allowed to help him when he fell, the Officers would

alert a nurse who would help him. Id. at 1380. He wore an adult diaper for his

incontinence and had to change it himself, which was a difficult task, taking him 10 to 15

minutes. Id. at 1382. Though Swisher undoubtedly has a difficult time in custody

because of his medical condition, his testimony does not establish an Eighth Amendment

violation.

Challenge to Medical Annex – Conclusions re Inmate Testimony

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       The testimony of the individual inmates showed that despite their disabilities and

chronic conditions they were largely able to do the activities of daily life. In addition to

care at the prison, ISCI provided them access to off-site hospitals and medical specialists.

There they received complicated surgeries along with treatment from highly specialized

medical professionals. If there were delays in treatment, or an inmate was kept too long

in the Medical Annex before being transferred to the Infirmary or the LTC unit, those

incidents were isolated in nature and did not rise to the level of a systemic failure.

       The Medical Annex operates essentially as an independent living facility, serving

as a bridge between the general population and the Infirmary/LTC. It allows inmates

whose chronic conditions keep them out of the general population to continue living

independently. Even Dr. Menard thought this concept of the Medical Annex was a good

idea, even if in practice it was not meeting Dr. Menard’s standards. See Tr. vol. 5 at

1179 (Dr. Menard). The inmates in the Medical Annex can perform the activities of daily

living even with their chronic medical conditions. So, they typically do not need the

level of care provided in the Infirmary or the LTC unit. By being housed in the Medical

Annex, those inmates can remain independent while at the same time be close to

important services like the pharmacy, cafeteria, and Chronic Care Clinic for outpatient

care. If their condition deteriorates or if they can no longer do the activities of daily

living, they can be moved into LTC or the Infirmary.

       That line – that is, the line between independence and deterioration – is often

difficult to discern. Because many of the inmates in the Medical Annex have chronic

health problems, they are closer to that line than the general population inmates. This

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requires the medical providers to be especially alert to signs of deterioration. Dr.

Haggard monitors those conditions by seeing inmates from the Medical Annex in the

Chronic Care Clinic, and the nurses who staff sick call and pill call provide further

monitoring. While the evidence shows that there were instances where the line may have

been crossed – where some inmates should have been transferred out sooner – those were

isolated instances and did not rise to the level of a systemic failure.

       As discussed above, a systemwide injunction “is appropriate only if plaintiffs have

established systemwide injury and impact.” Coleman, 922 F. Supp. at 963. Proof of

some individual failures does not establish systemic constitutional failures.” Graves,

2019 WL 4535543, at *3.

       The Court concludes that the testimony from the individual inmates does not rise

to the level of establishing that the ISCI is systematically providing inadequate medical

care in the Medical Annex. In addition, the Court cannot find that the medical providers

and prison officials are acting with deliberate indifference in the Medical Annex. To

close this issue, the Court refers to the warning in the Summary portion of this decision

regarding the staffing in the Medical Annex.

Health Service Requests – Balla I Orders 3 & 4

       Balla I Orders 3 & 4 relate to proper staffing and medical care. A specific issue

raised by plaintiffs concerned a period of time when the inmates’ Health Services

Requests (HSAs) overwhelmed the system. An HSA is an inmate’s request for medical

assistance. A triaging nurse screens the HSRs and determines whether further treatment



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is necessary – if so, the inmate must have a visit with a medical provider within 14 days

of the inmate submitting an HSR. See Tr. vol 1 at 35 (Hofer).

        A survey conducted in 2017 by NCCHC found a potential barrier to care in ISCI’s

requirement for a $5 co-pay per visit for medical services, a $3 co-pay for medications,

and a limit of one HSR per day. To correct that potential barrier to care, ISCI changed its

policy to reduce the co-pay to $2 and raise the limit on HSRs to three per day. 9

        Predictably, this dramatically increased the number of HSRs filed by inmates,

causing a backlog of HSRs and delays in the time an inmate could see a medical

provider. See Tr. vol 1 at 34-35, 76-77 (Hofer); Ex. 1085 at 1; Tr. 1108-11 (Dr. Menard).

In ISCI meeting minutes dated December 6, 2018, medical providers are described as

“struggling to stay afloat,” and “drowning with the number of inmates seen in the

morning.” See Exh. 1088 at 2; Tr. vol 1 at 106-08 (Hofer). Dr. Menard testified there

was not enough medical staff at ISCI to timely and adequately address and document the

medical concerns raised. See Tr. vol. 5 at 1115 (Dr. Menard). So ISCI pulled providers

from other IDOC facilities to clear the temporary backlog. See Tr. vol. 1 at 86-87

(Hofer); Tr. vol. 2 at 421 (Siegert).

        For example, In the Receiving and Diagnostics Unit, only 24% of the inmates who

were referred to providers were seen within 14 days in July 2019; 22% in August; 41%


        9
          The Court notes that requiring inmates who have money in their accounts to pay co-payments
for health care or prescriptions does not violate the Eighth Amendment, so long as the inmate was not
denied care because of an inability to pay. See Shapley v. Nev. Bd. of State Prison Comm’rs, 766 F.2d
404, 408 (9th Cir. 1985) (holding that a $3.00 copay fee for prisoners cannot be construed as deliberate
indifference to inmates’ medical needs); Reynolds v. Wagner, 128 F.3d 166, 174 (3rd Cir. 1997) (holding
that a $3.00 co-pay did not violate inmates’ Eighth Amendment and due process rights).


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percent in September; 33% in October; and 71% in November. See Ex. 306 at 14; Tr.

vol. 1 at 84-85 (Hofer). With regard to the general inmate population, only 28% of the

inmates who were referred to providers were seen within 14 days in July 2019; 30% in

August; 42% in September; 40% in October; and 88% in November. See Ex. 306 at 2;

Tr. vol. 1 at 85-86 (Hofer). But by December of 2019, ISCI caught up with the HSR

backlog and returned to 100% compliance. See Tr. vol. 1 at 35-37; 77-78 (Hofer); Ex.

301 at 2, 14.

       It is important to note that the 14-day requirement to see a provider was an internal

standard, not a standard set by NCCHC. See Tr. Vol. 1 at 118-20 (Hofer). Thus, this

incident with ISCI being overwhelmed with HSRs did not affect the NCCHC

accreditation.

       To summarize this evidence, the HSR system was overwhelmed for a time due to

the good faith attempt of ISCI to correct the potential barrier to care identified by the

2017 NCCHC audit. ISCI took several months to process these piles of HSRs, and

plaintiffs complain that the delays could have been avoided if ISCI had immediately

hired additional staff. But there is no evidence that even with immediate hiring (and its

related expense) the new staff would have been trained and fully operational so quickly

that the delays would have been reduced in any significant manner. The delays were

cleared quickly enough by pulling in additional providers, and no evidence was presented

that any inmate was harmed by the delay. Dr. Haggard testified that she would have

treated any such injuries in the infirmary and she saw none there. See Tr., vol. 1 at 187

(Dr. Haggard). The Court finds no Eighth Amendment violation here.

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Mental Health Services – Balla I Order 5

       Balla I required, in Order No. 5, that ISCI establish a psychiatric care program that

contained the following essential elements: (1) A system for screening and evaluating

inmates to identify those who need mental health treatment; (2) Mental health treatment

beyond segregation and close supervision of inmates; (3) Trained mental health

professionals in sufficient numbers; (4) Records of mental health treatment that are

accurate, complete, and confidential; (5) Preventing the prescription and administration

of behavior-altering medications in dangerous amounts, by dangerous methods, or

without appropriate supervision and periodic evaluation; and (6) Establishing a basic

program for the identification, treatment and supervision of inmates with suicidal

tendencies. Balla I, 595 F. Supp. at 1577.

       Some evidence that ISCI has put in place a mental health program that satisfies

these elements is contained in the 2019 NCCHC survey discussed above. It found that

ISCI satisfied all “essential” standards governing mental health treatment by, among

other things, (1) staffing the facility adequately; (2) providing a comprehensive suicide

prevention and intervention program, (3) timely screening inmates by qualified mental

health professionals; (4) providing individual and group counseling, and (5) properly

managing psychotropic medication. See Exh 189.

       Moreover, as discussed above, the audit tools concerning mental health that were

agreed upon by the parties demonstrate that ISCI has better than a 90% compliance rate

for almost every month in 2018 and 2019. While ISCI’s compliance with the audit tools

and its 2019 accreditation by NCCHC are not determinative, they are powerful evidence

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of compliance with Eighth Amendment standards. The Court will turn next to the

evidence adduced at trial.

       Mental health services are largely rendered in the Behavioral Health Unit

(“BHU”), also known as Unit 16, that has 227 beds. See Tr., vol. 3 at 687 (Watson). The

NCCHC describes the BHU as a subacute mental health unit, meaning that inmates

housed there have mental health problems but not as acute as those with the most serious

problems – acute patients are housed at a facility other than ISCI. Id. at 594. As

compared to the general population unit, the BHU provides a higher ratio of mental

health staff to inmates; delivery of in-house medications; a psychiatrist who visits the

unit; and mental health groups. See Tr., vol. 3 at 687-88 (Watson).

       The provision of mental health services is overseen by the Chief Psychologist Dr.

Walter Campbell, who has a Ph.D. in psychological counseling. See Tr., vol. 3, 567 (Dr.

Campbell). He is assisted in this work by two Clinical Supervisors, Jeremy Clark and

Laura Watson. Watson supervises the BHU and has a master’s degree in social work.

See Tr., vol. 3, 653-55 (Watson). Clark supervises the general population units and has a

master’s degree in counseling. See Tr. vol. 3 at 743 (Clark).

       As Clinical Supervisors, Watson and Clark assist Dr. Campbell in overseeing

mental health treatment, as well as staff, in their area of responsibility. See Tr., vol. 3,

654 (Watson). They also supervise eleven licensed, masters-level clinicians who provide

mental health care to inmates. See Tr., vol. 3 at 733 (Watson). These eleven clinicians

are either licensed clinical social workers, licensed counselors, or licensed marriage and

family counselors. Id. at 654. Six of the eleven are assigned to the BHU and the

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remaining five are assigned to the general population units. Id. The clinicians provide

coverage to ISCI seven days a week, and generally one or more clinicians is on-site from

6:30 a.m. until 6:00 p.m., (Monday – Friday), and 7:30 a.m. until 5:00 p.m., (Saturday

and Sunday). Id. at 655. There is also holiday coverage. Id. The clinician with the

“primary clinician designation” for that day is responsible for reviewing completed

mental health screens and meeting with inmates on suicide watch. Id. at 656-57.

       In addition to the clinicians, ISCI also has a psychiatric treatment coordinator

supervised by Watson. Id. The psychiatric treatment coordinator oversees some of the

supportive services at ISCI, and supervises four psychiatric technicians. Id. at 654-55.

The psychiatric technicians triage the mental health HSRs and meet with inmates within

24 hours if an HSR indicates clinical symptoms. Id. at 698-70. They also operate some

of the mental health groups. Id. at 684.

       Each week about 100 new inmates are brought into IDOC and each is screened in

the Receiving and Diagnostic Unit (RDU). This mental health screening is completed by

a medical staff member who documents responses to a series of questions on a form. Id.

at 659; Exh. 143; Exh. 30. For example, some of the questions seek information that

must be acted upon immediately, such as whether the inmate plans to hurt himself. Such

an answer would trigger an immediate suicide protocol. See Ex. 30; Tr., vol. 3, 662-63

(Watson). Other questions seek information about mental health that do not require such

an immediate response.

       The completed screening form becomes part of the inmate’s electronic file and is

reviewed by one of the master’s level mental health clinicians within 24 hours. Id. at

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660. The clinician will then meet with the inmate if that is indicated from the clinician’s

review of the inmate’s answers on the form. Id. at 667-68.

       Once past the screening and now part of the population of ISCI, inmates can

request mental health care at any time by filing an HSR. See Exh. 139 at 7. The HSRs

are reviewed by the nursing staff to see whether there are any indications the inmate

intends to harm himself. If so, the nursing staff contacts a primarily clinician to assess

the inmate for placement on suicide watch. See Tr., vol. 3 at 698-99 (Watson). If the

HSR does not reveal an intent to harm, the staff person provides the form to the

psychiatric technicians. Id. If the HSR reflects a clinical symptom, then the psychiatric

technician meets with the inmate within 24 hours. Id. at 699. If the psychiatric

technician believes that the inmate’s complaint needs to be addressed by a clinician, an

appointment with a clinician is made. Id. at 699-70.

       Inmates are referred to the BHU by a referral document maintained in the

electronic records (eOMIS). Id.; Exh. 151. The referral document records the mental

health status, diagnosis, reason for referral, and course of treatment, as well as the

signature of the clinician making the referral. Id. This referral document is reviewed by

Clinical Supervisor Watson who makes the decision whether that inmate will move into,

or out of, the BHU. Id. at 688-90.

        Once in the BHU, an inmate can request or seek mental health services by

submitting an HSR, by attending open clinic, or by talking to mental health staff in the

unit. See Tr., vol. 3 at 690 (Watson). The BHU walk-in open clinic has a clinician



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available to address inmates’ mental health concerns. Id. In addition, there are

approximately 30 hours per week of group services offered in the BHU. Id. at 691.

Mental Health Treatment – Suicide Prevention

       IDOC’s chief psychologist, Dr. Campbell, testified that “suicide risk management,

in many ways, can be considered the primary job of mental health in the correctional

environment.” See Tr. vol. 3 at 584 (Dr. Campbell). In Balla I (Order 5), the Court

ordered IDOC to establish a psychiatric care program to address, among other violations,

the failure to provide treatment to inmates who contemplate suicide. Balla I, 595 F.

Supp. at 1569, 1577, 1583. The Court observed that “it is critical that a program for the

identification, treatment, and supervision of inmates with suicidal tendencies and who

have previously attempted suicide is essential.” Id. at 1577. With this background, the

Court will review ISCI’s suicide prevention program.

       ISCI’s Standard Procedures “recognize that any inmate, simply by virtue of being

placed in a correctional facility, is at increased risk of suicide or self-harm.” See Tr. vol.

3 at 617 (Dr. Campbell). Because of that, compliance with the Procedures “is not just

a responsibility of mental health staff strictly, but is the responsibility of all staff ….” Id.

       As part of those Procedures, inmates with indications of self-harm are placed on

suicide watch in special isolation cells in the BHU (Unit 16), each cell door having a

window to allow visual monitoring by Correctional Officers. If the inmate is on acute

suicide watch, the inmate is subject to constant visual supervision; if the inmate is on

non-acute suicide watch, the Correctional Officers must visually check on the inmate at

staggered intervals no more than every 15 minutes. See Tr. vol. 10 at 1968-69 (Watson).

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Trained inmates are used as “watch companions” to assist Correctional Officers in

visually monitoring inmates on non-acute suicide watch. Id. A watch companion will sit

outside the cell for an inmate on nonacute suicide watch and check him every 5 minutes,

while a Correctional Officer would walk by to make a visual check every 15 minutes.

See Tr. vol. 9 at 1981 (Watson). Each time the Correctional Officer makes a cell check,

the Officer must sign a logbook (located at the cell door) noting his initials and the time

of the check. Id.

       ISCI was only partially compliant with this standard for non-acute suicide watch

inmates according to the NCCHC report in September of 2019. More specifically, ISCI

was not complying with the requirement that inmate’s on non-acute suicide watch be

checked every 15 minutes. See Exh 189. Confirming this NCCHC finding – and going

further to identify misconduct – was inmate Omar Escobedo, an ISCI suicide watch

companion up until December of 2017. As a watch companion, Escobedo could see if

the Correctional Officers were following the 15-minute visual check requirement. He

testified that those Officers, on a regular basis, made false entries in the suicide log that

they had checked on an inmate when in fact they had not done so. See Tr. vol. 9 at 1918-

19 (Escobedo).

       On October 8, 2019, Escobedo himself was put on non-acute suicide watch in the

BHU because he wanted to kill himself. See Tr. vol. 9 at 1922 (Escobedo). On that date,

a video of the unit shows that at 9:16 a.m., Escobedo put a covering (a mattress) over the

only window in his cell door blocking all view of what was going on inside his cell. See

Exh. 1256. The video shows that about 12 minutes later – while Escobedo’s window is

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still covered – a Correctional Officer approached Escobedo’s window but did nothing.

Id. Escobedo kept the window covered for 26 minutes until 9:42 a.m. Id. During the

time between 9:16 a.m. and 9:42 a.m. while his window was covered, Escobedo testified

that he was sharpening a button, fashioning a tourniquet to enlarge a vein, and using the

sharpened button to slice his vein in a suicide attempt. During those 26 minutes that his

window was covered nobody attempted to enter his cell to find out what was happening.

Escobedo testified that he was bleeding from roughly 9:40 am to 11:29 am when he was

finally taken from his cell.

       Escobedo’s testimony is contradicted by Correctional Officer Cheever who

testified that he monitored Escobedo at 10:30 a.m., 11:00 a.m., and 11:15 a.m. Cheever

testified that during these three times he saw no injuries on Escobedo. It was not until

11:21 a.m. (when Cheever was alerted by an inmate) that he first saw injuries on

Escobedo. Cheever’s testimony raises the possibility that Escobedo cut himself between

11:15 a.m. and 11:21 a.m. instead of two hours earlier as he testified.

       It is difficult to reconcile these contradictory accounts as both Escobedo and

Cheever appeared credible, yet at the same time both accounts have their weaknesses. If

Cheever is to be believed, Escobedo did nothing to himself during the 26 minutes his cell

window was covered; if Escobedo is to be believed, he was bleeding for about 2 hours

yet was still strong enough to resist the four Officers who eventually entered his cell to

remove him. The most likely explanation is that Escobedo did in fact cut himself during

the 26 minutes his window was covered, but not deep enough to cause extensive bleeding

for the next two hours.

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       But regardless of how the testimony of Cheever and Escobedo is reconciled, it

remains undisputed that Escobedo – while in an isolation cell on nonacute suicide watch

– was able to cover up the window to his cell for 26 minutes without anyone from ISCI

taking any action. That is a serious violation of any suicide prevention standard.

       Recall that about four months prior to Escobedo’s incident – in June of 2019 – the

NCCHC staff had visited ISCI and observed a lack of compliance with the interval

monitoring of inmates on non-acute suicide watch. That was part of the reason ISCI

received only a partial accreditation in the NCCHC’s initial report dated September 13,

2019. See Exh. 189. A similar finding had been made by the NCCHC in its 2016 survey.

See Exh. 314. In addition, in September of 2019, an inmate with suicidal tendencies who

was being held in an observation cell awaiting further evaluation was able to commit

suicide when the staff member who was supposed to be monitoring him was called away

on an emergency. See Tr. vol. 3 at 641-44 (Dr. Campbell). Moreover, in 2011, an IDOC

staff member falsified logbooks showing suicide prevention training that had not in fact

occurred. See Exhs. 1327 & 1328.

        ISCI’s own random audits showed 28% compliance with the interval monitoring

requirement in September of 2019 and 33% in October of 2019 (the month of Escobedo’s

incident). See Exh 305 at p. 4. These audit results – when considered with Escobedo’s

testimony about falsified log entries – are especially concerning to the Court.

       ISCI’s Clinical Supervisor Watson was also concerned. She reviewed the logs and

saw the lack of compliance with the staggered 15-minute interval monitoring

requirement. See Tr. vol. 9 at 1978-80; vol. 10 at 2351-53 (Watson). To correct this,

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Watson started in November of 2019 an education and training program for Correctional

Officers stressing the NCCHC essential standard regarding suicides and especially the

requirement of random checks every 15 minutes for non-acute inmates on suicide watch.

Id. at 1979 (“[w]e did face-to-face training. We reprinted the policy, had all of them

review it with the sergeant and the housing unit. We had them sign that they have

reviewed it. We reviewed every log and provided direction to any of those officers that

were not doing random checks”). Following this training, the logs showed improvement

in compliance to 73% in November, and 97% in December 2019. See Exh. 305 at p. 4.

        At the trial, Watson testified that she was not aware of any further incidents of

lack of compliance with the 15-minute interval monitoring requirement. See Tr. vol. 10

at 2354. Confirming her testimony was an inmate, Halton Flowers, who testified that

although he had difficulty in the past when acting as a watch companion to get an

officer’s attention, he had no further incidents in the six months leading up to the trial.

See Tr. vol. 9 at 1961-63 (Flowers).

        Thus, by January of 2020, ISCI was in compliance with the NCCHC standards.

Watson testified that following the training, there were no further issues with

noncompliance of this requirement. Id. at 2354. On January 15, 2020, the NCCHC

granted ISCI full accreditation after finding that all shortcomings – including those

related to the suicide standards – had been cured. See Exh. 190. 10



        10
           That finding of full compliance was not based on a visit to the facility but rather based on
emails sent by ISCI to the NCCHC that were taken at face value. See Tr. vol 2 at 301(Martin). Those
email representations from ISCI were received on January 14, 2020. Id. at 302 (Martin).


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Conclusions on ISCI’s Mental Health Program

       It is worth repeating the testimony of IDOC’s chief psychologist, Walter

Campbell, that “suicide risk management, in many ways, can be considered the primary

job of mental health in the correctional environment.” See Tr. 584:13-15 (Campbell). In

the past, suicide prevention has been a particular weak link in ISCI’s provision of

medical services. As discussed above, the facility has had a history of noncompliance

caused by incompetence and fraud that resulted in injury and death.

       But to its credit, ISCI has identified the weaknesses and taken corrective action by

alerting and training the staff. Compliance with the monitoring requirements has

markedly improved. More generally, ISCI has put comprehensive protocols in place to

identify and treat those with suicidal tendencies, and ISCI is monitoring compliance with

those protocols through the audit tools. The NCCHC recognized this when it accredited

ISCI’s suicide prevention measures.

       Turning more broadly to the provision of mental health services, ISCI has hired

competent staff and established comprehensive policies. As discussed, Clinical

Supervisor Watson assists Dr. Campbell in overseeing mental health treatment, and they

supervise six licensed, masters-level clinicians in the BHU who provide mental health

care to inmates. These clinicians are either licensed clinical social workers, licensed

counselors, or licensed marriage and family counselors. They provide coverage to ISCI

seven days a week. Moreover, as discussed above, the mental health audit tools

concerning mental health that were agreed upon by the parties demonstrate that ISCI has



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better than a 90% compliance rate for almost every month in 2018 and 2019. Finally,

ISCI received full accreditation from NCCHC for its mental health services.

       ISCI’s comprehensive program for mental health treatment, in combination with

the audit tool results for 2018-2019 and the NCCHC accreditation for 2019, demonstrates

that all six of the essential elements identified in Balla I have been satisfied by ISCI. It is

true that in the past, ISCI has failed to provide adequate mental health services to certain

individuals, and its own staff members have committed fraud and been incompetent. But

ISCI has now hired competent and qualified professional staff, set in place detailed

protocols, trained the staff to avoid past errors, and provided ongoing monitoring through

the mental health audit tools. Thus, the Court can find no ongoing and current violation

of any federal right. In addition, the Court cannot find that ISCI has been deliberately

indifferent to the past problems given the institution’s commitment to train and monitor

staff to prevent future problems. For all of these reasons, the Court finds that Balla I

Order 5 shall be terminated.

       Nevertheless, ISCI’s history should be a sobering warning that backsliding could

lead to injury and death, and will almost certainly result in a new round of litigation

before this Court, which is well-familiar with that history.

Emergency Medical Care – Balla Order No. 3

       In Balla I, the Court found that the provision of emergency medical care at ISCI

was inadequate:

       This court concludes that the evolving standards of decency require that
       24-hour emergency medical care be available. The prison population is
       presently well over a thousand and increasing. The likelihood of the need

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       for emergency care on a 24-hour basis has passed from the stage of a remote
       possibility to that of a strong probability. Consequently, 24-hour
       emergency medical care is not only needed, but constitutionally required.

Balla I, 595 F. Supp. at 1576. Order No. 3 from Balla requires that 24-hour emergency

medical care be available. The NCCHC essential standard P-D-07 likewise requires that

inmates have access to emergency medical services 24 hours a day, and that facility staff

are able to provide emergency services until qualified health care providers arrive. See

Exh. 189. Another NCCHC essential condition – P-C-04 – requires that correctional

officers who work with inmates have training at least every two years in, among other

things, (1) CPR, including the use of a defibrillator, (2) administration of first aid; and

(3) acute manifestations of serious illnesses. Id.

       The NCCHC survey of ISCI in 2019 concluded that ISCI had 100% compliance

with these two essential standards. Id. The testimony at the evidentiary hearing

confirmed the NCCHC conclusions.

       At least one emergency responder is on-site at all times. See Tr., vol. 4 at 878

(Tillemans). The emergency responder is either a Correctional Medical Specialist

(“CMS”), RN, or LPN. Id. at 879. At night, there are the following medical providers

available for emergency response: (1) an LPN in the LTC, (2) an RN in the Infirmary,

and (3) a CMS in the Medical Building next door to the Medical Annex. Id. at 880; see

also Tr. vol 10 at 2291 (Tillemans). On Tuesdays and Thursdays there were two CMSs

on the night shift; the other nights just one. Id. In addition, Correctional Officers are

trained in CPR and trained to recognize life threatening situations and alert medical

professionals. Id.

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       Emergency response time is to be within four minutes. Id. The responders bring

an emergency cart, including oxygen, and life-saving drugs such as an Epi Pen,

nitroglycerine, Glucagon and Narcan. See Exh. 49; Exh. 97 at 3; Id. at 2183-84. A

responder is authorized to use those items in a life-threatening situation without calling a

provider for authorization. See Tr., vol. 10, 2263-65 (Tillemans). A telephone landline is

available to call 911, and although cell-phone coverage is blocked, responders had radios

and could use them to request a 911 call. Id. Additionally, a psychiatrist, medical

provider, and dentist are always on-call. Id.

       Each emergency response is logged and reviewed by the Regional Medical

Director (RMD). See Tr. vol. 4 at 882 (Tillemans). For example, Dr. Menard testified

that while he was RMD, he reviewed every emergency response each month. See Tr. vol.

5 at 1151 (Dr. Menard). Health Service Administrator Tillemans could recall one

incident (during the time she was in that position from November of 2018 to July of

2019) where two emergencies were called in at once during the night. See Tr. vol. 4 at

882-83; 897 (Tillemans). The review of that single incident showed that it was handled

appropriately. Id. The Court will later discuss the testimony of Donald Young, who

worked at ISCI as an emergency responder and recalls responding to “dozens” of

simultaneous emergencies.

       This emergency response capability of the ISCI was demonstrated in a video dated

October 24, 2017, taken in the Medical Annex. See Exh. 1245 (starting at 10:31:00).

The video shows a Correctional Officer calling an emergency for an unresponsive inmate

in his bunk, and within a minute two nurses respond; within about two minutes, another

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two nurses respond; and within about four and a half minutes, two CMSs join them. See

Tr., vol. 10, 2270-73 (Tillemans). Within less than three more minutes, another two

nurses have joined the six responders already on the scene. Id. In just under 20 minutes

from the emergency being called, an ambulance has arrived and the EMTs are at the side

of the unresponsive inmate. Id. at 2281.

       The unresponsive inmate was in his bunk on an inside aisle in the Medical Annex,

a location that plaintiffs had argued was difficult to reach. But in the incident recorded

on the video, Tillemans was one of the emergency responders, and she testified credibly

that they had no difficulty accessing the patient and providing appropriate medical aid.

Id. at 2274-82.

       Similar testimony was given by Hannah Taff, who, as a nurse staffing the Medical

Annex on a fulltime basis, has personally responded to medical emergencies about ten

times. See Tr., vol. 9 at 2133. (Taff). She testified that she “never had issues” gaining

access to inmates needing emergency treatment in their bunks. Id. at 2134 (Taff).

       This is substantial evidence that ISCI has satisfied Balla Order No. 3 and the

Eighth Amendment. But plaintiffs offered the testimony of Donald Young to show that

that this apparent capacity did not translate into an actual capacity to respond to

emergencies.

       Young was a CMS working the night shift (7am to 7pm) at ISCI from October of

2017 to January of 2019. He had been an Army medic and was a trained Emergency

Medical Technician (EMT). See Tr. vol. 6 at 1386 (“I can intubate, do emergency



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cricothyrotomies, place tourniquets, control bleeding, manage airways, as well as a whole

list of other invasive and advanced procedures”).

       During his tenure as CMS he was allowed to administer oxygen, NARCAN, or

other medications if the patient’s life was threatened without first seeking to get

permission from a medical provider. See Tr. vol. 6 at 1428. But he testified that on

January 16, 2019, ISCI changed its policy and restricted the care that CMSs could

provide: No longer could they complete invasive procedures, do sutures, or provide IV

push medications without permission. See Exh. 1066. In addition, the new policy stated

that, “[i]t is required that you function strictly within an LPN scope of practice as medical

responders and contract – and contact a provider before any medication that is not NET

[Nursing Encounter Tool] protocol is administered.” Id. Young testified that by

restricting CMSs to an LPN’s scope of practice, CMSs could no longer give aspirin,

oxygen, or NARCAN (among other life-saving medications) even if the patient’s life was

threatened, without permission from a medical provider. See Tr. vol. 6 at 1435-37. With

these changes, he testified that undue delays might cause harm because it could take ten

minutes to get ahold of a medical provider for permission and another twenty minutes for

an ambulance to arrive. Id. at 1437-38.

       But his prediction of future harm was based on what appears to be a

misunderstanding. Both Dr. Haggard and Health Services Administrator Tillemans

testified that the current policy allows a CMS to administer oxygen and life-saving

medications like NARCAN and albuterol when the patient’s life is threatened without

first seeking approval from a medical provider. See Tr. vol. 10 at 2264 (Tillemans); Tr.

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vol. 10 at 2185, 2187, 2256 (Dr. Haggard). Young had been fired the day before the new

policy was issued and so his interpretation of the policy is irrelevant, now that Dr.

Haggard and Administrator Tillemans have clarified the current policy of ISCI. 11

        Young raised a second challenge that is more serious. Specifically, he highlighted

a weakness in the capacity to respond to emergencies at night. While two nights a week

there was a second CMS on duty, the other five nights there was only a lone CMS for the

whole of ISCI, which housed an average of about 1,424 inmates at any given time. Id. at

1390. As discussed, the CMS on duty could not call on the nurses in the Infirmary or the

LTC unit because they were not allowed to leave their units at night, and he could not

bring an inmate there because those units were locked down at night. Id. at 1391-92 (he

needed orders from a medical provider and a security escort to bring an inmate into the

Infirmary or LTC unit at night).

        Young testified that during the 15 months he worked at ISCI, there were “more

than a dozen” occasions when he was the only CMS on duty and multiple emergencies

were called in simultaneously. Id. at 1392-93. He would attend one and then use the

radio to attempt to walk a Correctional Officer through the other until he could arrive. Id.

He complained about the lack of emergency responders at night to the Director of

Nursing but nothing was changed. Id. at 1403.


        11
            Young was fired for giving an injection of Benadryl to a patient without first seeking approval
from a medical provider. The next day the new policy was issued restricting a CMS to the scope of
practice of an LPN. That appeared to restrict CMSs in the manner described by Young. But Dr. Haggard
and nurse Tillemans testified otherwise, as set forth above, and there is nothing in the record that rebuts
their description of the current policy of ISCI. Thus, the Court accepts the testimony of Dr. Haggard and
nurse Tillemans.


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       Having just one emergency responder at night to cover so many inmates puts the

ISCI close to the line for an Eighth Amendment violation. Ultimately, the Court finds no

such violation based largely on the lack of any evidence of harm and on the NCCHC

accreditation. Young testified that during the 15 months he worked there, he never

experienced any delays in getting medical provider approval or ambulance service. Id. at

1428. When he had three simultaneous emergencies, he was able to eventually handle all

three and he did not identify any harm that resulted from his delays. See Tr. vol. 6 at

1393-94. Moreover, as discussed above, the Correctional Officers are trained to some

degree and can assist the CMS.

       This is enough along with the NCCHC accreditation, MCP compliance, and

evidence set forth above to satisfy the Eighth Amendment. Because the Court can find

no current and ongoing violation of the Eighth Amendment, Balla Order No. 3 must be

terminated.

Overcrowding

       The prospective relief ordered by this Court prohibits IDOC from housing more

than 117 inmates in Unit 9, 108 inmates in Unit 10, 108 inmates in Unit 11, and 144

inmates in Unit 13 (or A-Block as it is referred to in Balla III). See Memorandum

Decision (Dkt. No. 585) at p. 25. Additionally, the Court kept in place its previous

injunction “that no more than two (2) inmates be housed in any cell for any period of

time at any time and that no inmates be housed at any time in day rooms or other non-

designed cell areas or forced to sleep on mattresses on the floor.” Id. These injunctions

were subsequently incorporated into a Judgment. See Judgment (Dkt. No. 601).

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       Sgt. Christopher Rufe is responsible for ensuring compliance with the population

caps. See Tr., vol. 4, 972-74 (Rufe). Under his computer program, if a staff member

attempts to assign an inmate to a bed in one of those units that would result in exceeding

that unit’s population cap, a warning is issued. Id. at 977. In addition to this warning, the

prison’s daily count process – that is, the physical count of inmates – is “the safety net

that prevents IDOC from exceeding those population caps.” Id. at 977-78. Since

October 2017, ISCI has never exceeded the population caps in Units 9, 10, 11, and 13.

Id. at 980. Likewise, since October 2017, no more than two inmates have been assigned

to the same cell. Id. at 980-81. Nor have any inmates been required to sleep on the floor

or assigned to sleep in non-designed cell areas. Id.

       Thus, the population caps and housing restrictions carried through in the Balla III

Orders must be terminated.

Security Staffing Levels – Balla Order No. 6

       In Balla I, the Court ordered “[t]hat if the prison administration determines to

double-cell inmates in medium custody, the administration shall then be required to

employ twice the security personnel on those medium security tiers where the double-

celling takes place.” Balla I, 595 F. Supp. at 1583. Subsequently, the Court ordered for

Unit 9 that the staffing pattern shall consist of two officers during the day shift, two

officers during the swing shift, and one officer during the graveyard shift. See Tr. vol. 4

at 1002 (Richardson).

       The evidence showed that this staffing level for Unit 9 is being followed. Id. at

1003. The same staffing pattern is also in effect for Units 10, 11, and 13. Id. at 1000-01;

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1014. Plaintiffs complain that there should be two officers at all times for Units 10, 11

and 13 pursuant to the Order in Balla I. That decision, however, never made a need-

narrowness-intrusiveness finding, and there is no evidence that the current security

staffing is leading to any security related problems. Thus, requiring a second security

officer during the graveyard shift cannot satisfy the need-narrowness-intrusiveness

standard. Gilmore 220 F.3d at 1008. The Court finds that the security staffing does not

constitute a current and ongoing violation of a federal right. Accordingly, Balla I, Order

6 will be terminated.

Plumbing Repairs

       In Balla II, the Court ordered IDOC to “attend to all plumbing disorders in the

housing units within twenty-four (24) hours of oral or written report to the Idaho State

Correctional Institution (ISCI) staff and that those plumbing disorders be remedied within

three (3) working days from such report.” Balla II, 656 F. Supp. at 1120. This part of

Balla II was reaffirmed by the Court in Balla III. See Memorandum Decision (Dkt. No.

585) at p. 25.

       Chuck Kinkead is IDOC’s support manager for its prisons division. Tr., vol. 4 at

1016 (Kinkead). Kinkead described in detail how his maintenance staff receive, respond

to, and complete plumbing repairs. Id. IDOC has used since 2016 a web-based software

program called Micromain that allows all staff at ISCI, including Correctional Officers,

to submit work orders for plumbing repairs. Id. at 1017-18. The Micromain system

automatically date stamps work orders when they are submitted, assigned, and



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completed. Id. at 1017. Each morning Kinkead reviews all of the submitted work orders

in Micromain and assigns them to the maintenance staff. Id. at 1021-22.

       Micromain contains a priority field for repair times. Specifically, priority level 3

requires repairs to be made within 72 hours in compliance with the Court’s plumbing

repair orders. Id. at 1032-33. Kinkead ensures that his staff are aware of the time

requirements for completing plumbing repairs by making it part of the discussion at the

morning maintenance meetings. Id. at 1033-34.

       Despite this system, there was evidence that plumbing problems persist long past

72 hours. Class Representative Barry Searcy was housed in Unit 13 and personally

experienced issues with a sink on the tier during this time frame. See Tr. vol. at 1999-

2000 (Searcy). He testified that it took multiple complaints made over multiple months

before the issue was finally resolved. Id. at 1998-2002.

       But overall, for 2018, ninety-eight per cent (98%) of plumbing repairs at ISCI

were completed within three days. See Tr., vol. 5, 1036 (Kinkead); Exh. 302. In 2019,

the percentage was the same. Id.; Exh. 303.

       Thus, while there may have been instances of noncompliance, they are isolated in

nature and not evidence of a systemic failure. Moreover, Kinkead’s testimony and the

system he uses to flag plumbing problems demonstrates that the prison is not acting with

deliberate indifference. This Balla II and III Order must be terminated.

Conclusion

       For the reasons expressed above, the Court can find no current and ongoing

constitutional violation. In addition, with respect to the security staffing issue, the Court

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finds that the Balla I order does not satisfy the need-narrowness-intrusiveness standard of

§ 3626 of the PLRA. For these reasons, the Court will grant the motion to terminate

prospective relief and order that this case be dismissed. The Court will issue a separate

Judgment as required by Rule 58(a).

                                           ORDER

       In accordance with the Findings of Fact and Conclusions of Law above,

       NOW THEREFORE IT IS HEREBY ORDERED, that the motion for termination

of prospective relief (docket no. 1257) is GRANTED.

       IT IS FURTHER ORDERED, that this action be DISMISSED. The Clerk is

directed to close this case.



                                                  DATED: May 30, 2020


                                                  _________________________
                                                  B. Lynn Winmill
                                                  U.S. District Court Judge




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